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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DANIEL ZEIGER,                                      Case No. 3:17-cv-04056-WHO
                                                        Plaintiff,
                                   8
                                                                                             ORDER ON MOTIONS FOR CLASS
                                                 v.                                          CERTIFICATION, SUMMARY
                                   9
                                                                                             JUDGMENT, AND TO EXCLUDE AND
                                  10     WELLPET LLC,                                        STRIKE
                                                        Defendant.                           Re: Dkt. Nos. 152, 160, 163, 171, 173, 180,
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                                  13                                            INTRODUCTION

                                  14          Defendant WellPet LLC (“WellPet”) makes premium-priced dog food that it holds out to

                                  15   be healthy, nutritious, natural, and high quality. According to plaintiff Daniel Zeiger, three

                                  16   WellPet dog foods actually contain small amounts of arsenic, lead, and bisphenol A (“BPA”). He

                                  17   alleges, on behalf of himself and several proposed classes, that WellPet misled consumers by

                                  18   failing to disclose the presence of these substances and by making claims on the products’

                                  19   packaging that would lead reasonable consumers to believe the substances were not present.

                                  20   WellPet has numerous responses, including that arsenic and lead are naturally occurring and

                                  21   ubiquitous in the environment and that small amounts of the substances are likely present in many

                                  22   pet foods, that all three substances are impossible to fully remove from the food supply, and that

                                  23   they do not present a health risk in these small quantities.

                                  24          Before me are WellPet’s motion for summary judgment on Zeiger’s individual claims,

                                  25   Zeiger’s motion to certify classes, and both parties’ motions to strike and exclude. WellPet’s

                                  26   motion for summary judgment is largely denied. Zeiger has shown genuine disputes of material

                                  27   fact about the safety of these levels of arsenic and lead in dog food. But he has not shown that

                                  28   these levels of BPA present any risk. He has also shown genuine disputes of material fact about
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                                   1   most remaining issues, including whether reasonable consumers would be misled by the

                                   2   representations and omissions.

                                   3            Zeiger has also met many of the requirements for certification under Federal Rule of Civil

                                   4   Procedure 23(b)(3). He has not, however, put forward an admissible damages model or shown

                                   5   that he can. As a result, his motion to certify under Rule 23(b)(3) is denied. Because the lack of

                                   6   an admissible damages model is the only barrier to certification and it appears possible that such a

                                   7   model could be advanced, Zeiger has leave to renew his motion with a new damages model. His

                                   8   motion to certify classes under Rule 23(b)(2) is granted; the classes he proposes shall be certified

                                   9   for purposes of injunctive relief.

                                  10                                             BACKGROUND

                                  11   I.       THE WELLNESS PRODUCTS

                                  12            This case concerns three dog food products manufactured and marketed by WellPet as part
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                                  13   of its “Wellness” line: Complete Health Adult Whitefish & Sweet Potato (the “Sweet Potato

                                  14   Product”), Complete Health Grain Free Adult Whitefish & Menhaden Fish Meal (the “Menhaden

                                  15   Product”), and CORE Ocean (with Whitefish, Herring Meal and Salmon Meal) (the “CORE

                                  16   Ocean Product”) (collectively, the “Wellness Products”). Zeiger’s broad theory is one of

                                  17   misrepresentation. He alleges that WellPet marketed the Wellness Products as “premium dog

                                  18   food” at a “premium price” that held itself out as “natural and nutritious.” See, e.g., Plaintiff’s

                                  19   Motion for Class Certification (“Cert. Mot.”) [Dkt. No. 163] 2–3. In reality, Zeiger claims, the

                                  20   Wellness products contain lead, arsenic, and BPA, the presence of which WellPet did not disclose

                                  21   to consumers. Id.

                                  22            The Wellness Products are sold in bags ranging from 4 lb. to 30 lb. Declaration of Laura

                                  23   Marseglia [Dkt. No. 162-3] ¶ 4. Their packaging includes, among other things, the ingredients

                                  24   included in the dog food and percentages of nutrients. Declaration of Gregory G. Kean (“Kean

                                  25   Decl.”) [Dkt. No. 162-2] ¶ 15. They also contain, Zeiger alleges, a group of misleading

                                  26   “marketing claims.” Those statements are: (1) “Uncompromising Nutrition,” (2) “Unrivaled

                                  27   Quality Standards,” (3) “Natural,” (4) “Nothing in excess and everything in balance,” and (5)

                                  28   “Complete health” (collectively, the “Wellness Statements”). See Second Amended Complaint
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                                   1   (“SAC”) [Dkt. No. 95] ¶¶ 10, 11, 16, 46. Because the Wellness Statements are a focus of the

                                   2   parties’ class certification dispute, they are discussed further below. As a general matter, the

                                   3   statements on the Wellness Products’ packaging have changed over time in content, location, and

                                   4   size. Kean Decl. ¶ 16. They also change from product to product. Id.

                                   5             Both parties agree that the Wellness Products are geared toward nutrition-conscious

                                   6   consumers. The record also shows that pet foods that are viewed as high in nutritional value, use

                                   7   high-quality ingredients, and use only “natural” ingredients can be sold at higher prices than other

                                   8   pet foods. See, e.g., Cert. Mot. 2 (collecting statements by WellPet to that effect). Zeiger argues

                                   9   that WellPet has designed its brand and the Wellness Products’ brands around an image that

                                  10   conforms to these ideals. According to Zeiger, everything from the name “WellPet” to the brand

                                  11   name “Wellness” to the Wellness Statements are intended to evoke this natural, healthy, high-

                                  12   quality image. Of particular importance to this suit, Zeiger argues that the brand is designed to
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                                  13   convey that there are no “chemicals or contaminants” in the Wellness Products.

                                  14   II.       ARSENIC, LEAD, AND BPA

                                  15             Zeiger contends that the Wellness Products either contained or had a risk of containing

                                  16   “detectable amounts” of arsenic, lead, and BPA. Cert. Mot. 3; SAC ¶¶ 2, 12, 13, 21, 45.

                                  17             Arsenic and lead are heavy metals. See, e.g., Report of Dr. Gary Pusillo (“Pusillo Rep.”)

                                  18   [Dkt. No. 163-2] at 16–17.1 There is no evidence that WellPet intentionally adds arsenic or lead to

                                  19   its products, and Zeiger does not contend otherwise. Prior to “approximately 2015,” WellPet

                                  20   tested at least some of its products for heavy metals. See, e.g., Dkt. No. 151-11, Ex. 7 at 57.

                                  21   Zeiger and his expert contend that this testing was ineffective because (1) only a small number of

                                  22   ingredients were tested and (2) WellPet used a detection limit of 10 or 5 parts per million (“ppm”)

                                  23   when it could have used lower limits measured in parts per billion (“ppb”). See Pusillo Rep. at

                                  24   21–22. WellPet points out that arsenic and lead can occur naturally in fish-based ingredients, so it

                                  25   conducted 35 tests of those ingredients over two years. Kean Decl. ¶ 36–37. It represents that all

                                  26   of those tests “yielded non-detectable levels of arsenic and lead.” Id. ¶ 37.

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                                           Citations to exhibits attached to the parties’ briefs are to the ECF-generated page number.
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                                   1          There is also evidence that WellPet created guidelines for its suppliers that, among other

                                   2   things, barred products with arsenic and lead and required accrediting testing for those substances.

                                   3   See Dkt. No. 151-8 (supplier manual). But, according to Zeiger, these standards were never

                                   4   enforced or communicated to raw material vendors. See, e.g., Dkt. No. 151-11 at 5:11–21 (“This

                                   5   would have been sent to our co-manufacturing suppliers—companies that make finished products

                                   6   for us . . . I have never sent it to a raw material vendor.”). WellPet says that the guidelines were

                                   7   only ever a draft that was later superseded. Kean Decl. ¶ 24. WellPet allegedly later removed any

                                   8   requirement for lab tests to show an absence of heavy metals. Dkt. No. 151-8, Ex. 6 (Certificate

                                   9   of Analysis for WellPet ingredients does not include testing for arsenic or lead).

                                  10          BPA is a synthetic chemical found in some plastics, among other places. See, e.g., Pusillo

                                  11   Rep. at 16. Zeiger contends that WellPet’s internal quality control standards prohibit BPA in its

                                  12   products because they seek to prevent contamination by “foreign bodies,” defined as “[a]ny
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                                  13   material which is not natural to the raw material, ingredient, packaging material, or finished

                                  14   product[].” See Dkt. No. 151-8, Ex. 5 WellPet admits that it did not and does not test for BPA.

                                  15   Id., Ex. 7. There also appears to be no requirement that WellPet suppliers test for BPA. Id., Ex. 6

                                  16   (Certificate of Analysis for WellPet ingredients requires that “this ingredient is preserved with a

                                  17   natural antioxidant” but does not include testing for BPA).

                                  18          Zeiger claims that BPA can be introduced into the Wellness Products through its

                                  19   manufacturing and storage processes. Specifically, Wellness Products are placed into plastic

                                  20   buckets at high temperatures, which creates a risk that BPA from the plastic will contaminate the

                                  21   products. See Dkt. No. 151-11 at 59:12–16. Ingredients are also at one point placed into large

                                  22   plastic bags, which Zeiger argues may lead to contamination. Id. at 3:24–4:11. According to a

                                  23   laboratory analysis by one of Zeiger’s experts, “quantifiable levels of BPA” were found in 59 of

                                  24   the 105 tested WellPet products. See Report of Sean P. Callan (“Callan Rep.”) [Dkt. No. 163-8] ¶

                                  25   3.

                                  26          The parties dispute the risk from arsenic, lead, and BPA in the Wellness Products. There is

                                  27   evidence on this record that many pet foods contain some small amount of arsenic and lead. See,

                                  28   e.g., Poppenga Rep. at 10. The Food and Drug Administration (“FDA”) has remarked (albeit in
                                                                                         4
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                                   1   explanatory posts online, not in any regulatory or adjudicatory proceeding) that “[a]s a naturally

                                   2   occurring element, it is not possible to remove arsenic entirely from the environment or food

                                   3   supply” and “[i]t is not possible to remove or completely prevent lead from entering the food

                                   4   supply.” See FDA, Arsenic in Food and Dietary Supplements (August 5, 2020),

                                   5   https://www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements; FDA,

                                   6   Lead in Food, Foodwares, and Dietary Supplements (February 27, 2020),

                                   7   https://www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements.

                                   8   But even in these posts, which WellPet relies on, the FDA goes on to say that, because of these

                                   9   facts, the FDA “seeks to limit consumer exposure to arsenic to the greatest extent feasible” and

                                  10   “seeks to limit consumer exposure to lead in foods to the greatest extent feasible.”

                                  11   III.     ZEIGER’S EXPERIENCES

                                  12            Zeiger purchased at least a $15 bag of Wellness Product every one to three months from
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                                  13   “approximately October 2014 until July 2017.” SAC ¶ 25; Dkt. No. 152-8 at 4:1–5. (He also

                                  14   made purchases of it before the class period. See, e.g., Dkt. No. 162-16 at 14:3–11.) At that point,

                                  15   he learned that the Wellness Products contained arsenic, lead, and/or BPA and he stopped

                                  16   purchasing them. SAC ¶ 25. He claims that he relied on the Wellness Statements and, as a result,

                                  17   reasonably believed the Wellness Products did not contain arsenic, lead, or BPA. Id.. He also

                                  18   alleges that he would not have purchased the products if he had known about the presence of these

                                  19   substances. Id. WellPet interprets Zeiger to have testified that he could not recall most specifics

                                  20   about the products he purchased; that he understands arsenic and lead are naturally occurring; that

                                  21   he understands BPA exists in many places; and that he personally would rely on the FDA to

                                  22   determine reasonable levels of arsenic, lead, and BPA in food.

                                  23   IV.      PROCEDURAL HISTORY

                                  24            Zeiger filed this suit in September 2017 on behalf of himself and a proposed class.2 Dkt.

                                  25   Nos. 1, 33. In January 2018, I granted in part and denied in part a motion to dismiss. Dkt. No. 59.

                                  26   Discovery began, discovery disputes ensued, and the time for discovery was repeatedly extended

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                                           There were previously other named plaintiffs but they have since been dismissed.
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                                   1   at the parties’ requests. See Dkt. Nos. 72, 87, 104, 111, 119, 126, 140. In June 2018, I granted a

                                   2   motion to amend the complaint in line with my order on the motion to dismiss. Dkt. No. 94. In

                                   3   December 2019, Zeiger moved to file a third amended complaint, which I denied for failure to

                                   4   show diligence and for the prejudice to WellPet. Dkt. No. 135.

                                   5            The operative complaint alleges six causes of action: (1) negligent misrepresentation, (2)

                                   6   violation of the California Consumers Legal Remedies Act (“CLRA”), (3) violation of

                                   7   California’s False Advertising Law (“FAL”), (4) violation of California’s Unfair Competition Law

                                   8   (“UCL”), (5) breach of express warranty under California law, and (6) breach of implied warranty

                                   9   under California law.

                                  10            On June 29, 2020, Zeiger moved for class certification on all claims. Dkt. No. 152. On

                                  11   September 30, 2020, WellPet filed a Daubert motion about Zeiger’s class certification experts.

                                  12   Dkt. No. 163. On October 14, 2020, Zeiger moved to strike portions of a declaration filed by
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                                  13   WellPet. Dkt. No. 171. And on October 30, 2020, WellPet moved for summary judgment on

                                  14   Zeiger’s individual claims. Dkt. No. 180. Because the class certification motion turned in large

                                  15   part on the summary judgment and Daubert motions, I granted WellPet’s motion to consolidate

                                  16   the hearing on all pending motions, Dkt. No. 186, which was held on January 27, 2021.

                                  17                                          LEGAL STANDARD

                                  18   I.       EXPERT TESTIMONY

                                  19            Federal Rule of Evidence 702 allows a qualified expert to testify “in the form of an opinion

                                  20   or otherwise” where: (a) the expert’s scientific, technical, or other specialized knowledge will help

                                  21   the trier of fact to understand the evidence or to determine a fact in issue; (b) the testimony is

                                  22   based on sufficient facts or data; (c) the testimony is the product of reliable principles and

                                  23   methods; and (d) the expert has reliably applied the principles and methods to the facts of the case.

                                  24   Fed. R. Evid. 702. Expert testimony is admissible under Rule 702 if it is both relevant and

                                  25   reliable. See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993). “[R]elevance

                                  26   means that the evidence will assist the trier of fact to understand or determine a fact in issue.”

                                  27   Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007); see also Primiano v. Cook, 598 F.3d 558,

                                  28   564 (9th Cir. 2010) (“The requirement that the opinion testimony assist the trier of fact goes
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                                   1   primarily to relevance.”) (internal quotation marks omitted).

                                   2          Under the reliability requirement, the expert testimony must “ha[ve] a reliable basis in the

                                   3   knowledge and experience of the relevant discipline.” Primiano, 598 F.3d at 565. To ensure

                                   4   reliability, the court must “assess the [expert’s] reasoning or methodology, using as appropriate

                                   5   such criteria as testability, publication in peer reviewed literature, and general acceptance.” Id.

                                   6   These factors are “helpful, not definitive,” and a court has discretion to decide how to test

                                   7   reliability “based on the particular circumstances of the particular case.” Id. (internal quotation

                                   8   marks and footnotes omitted). “When evaluating specialized or technical expert opinion

                                   9   testimony, the relevant reliability concerns may focus upon personal knowledge or experience.”

                                  10   United States v. Sandoval-Mendoza, 472 F.3d 645, 655 (9th Cir. 2006).

                                  11          The inquiry into the admissibility of expert testimony is “a flexible one” in which “[s]haky

                                  12   but admissible evidence is to be attacked by cross examination, contrary evidence, and attention to
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                                  13   the burden of proof, not exclusion.” Primiano, 598 F.3d at 564. The burden is on the proponent

                                  14   of the expert testimony to show, by a preponderance of the evidence, that the admissibility

                                  15   requirements are satisfied. Lust By & Through Lust v. Merrell Dow Pharm., Inc., 89 F.3d 594,

                                  16   598 (9th Cir. 1996); see also Fed. R. Evid. 702 advisory committee’s note.

                                  17   II.    SUMMARY JUDGMENT

                                  18          Summary judgment on a claim or defense is appropriate “if the movant shows that there is

                                  19   no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

                                  20   law.” Fed. R. Civ. P. 56(a). In order to prevail, a party moving for summary judgment must show

                                  21   the absence of a genuine issue of material fact with respect to an essential element of the non-

                                  22   moving party’s claim, or to a defense on which the non-moving party will bear the burden of

                                  23   persuasion at trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the movant has

                                  24   made this showing, the burden then shifts to the party opposing summary judgment to identify

                                  25   “specific facts showing there is a genuine issue for trial.” Id. The party opposing summary

                                  26   judgment must then present affirmative evidence from which a jury could return a verdict in that

                                  27   party’s favor. Anderson v. Liberty Lobby, 477 U.S. 242, 257 (1986).

                                  28          On summary judgment, the court draws all reasonable factual inferences in favor of the
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                                   1   non-movant. Id. at 255. In deciding a motion for summary judgment, “[c]redibility

                                   2   determinations, the weighing of the evidence, and the drawing of legitimate inferences from the

                                   3   facts are jury functions, not those of a judge.” Id. However, conclusory and speculative testimony

                                   4   does not raise genuine issues of fact and is insufficient to defeat summary judgment. See

                                   5   Thornhill Publ’g Co., Inc. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979).

                                   6   III.    CLASS CERTIFICATION

                                   7           “Before certifying a class, the trial court must conduct a rigorous analysis to determine

                                   8   whether the party seeking certification has met the prerequisites of Rule 23.” Mazza v. Am. Honda

                                   9   Motor Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012) (internal quotation marks omitted). The party

                                  10   seeking certification has the burden to show, by a preponderance of the evidence, that certain

                                  11   prerequisites have been met. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348–50 (2011);

                                  12   Conn. Ret. Plans & Trust Funds v. Amgen Inc., 660 F.3d 1170, 1175 (9th Cir. 2011).
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                                  13           Certification under Rule 23 is a two-step process. The party seeking certification must first

                                  14   satisfy the four threshold requirements of Rule 23(a). Specifically, Rule 23(a) requires a showing

                                  15   that: (1) the class is so numerous that joinder of all members is impracticable; (2) there are

                                  16   questions of law or fact common to the class; (3) the claims or defenses of the representative

                                  17   parties are typical of the claims or defenses of the class; and (4) the representative parties will

                                  18   fairly and adequately protect the interests of the class. Fed. R. Civ. P. 23(a).

                                  19           Next, the party seeking certification must establish that one of the three grounds for

                                  20   certification applies. See Fed. R. Civ. P. 23(b). Zeiger seeks certification under Rule 23(b)(3),

                                  21   which requires him to establish that “the questions of law or fact common to class members

                                  22   predominate over any questions affecting only individual members, and that a class action is

                                  23   superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

                                  24   R. Civ. P. 23(b)(3). He also seeks certification under Rule 23(b)(2) for an injunctive relief class.

                                  25   And, in the alternative to the (b)(3) class, he seeks certification under Rule 12(c)(4) for any issues

                                  26   that I determine are fit for class treatment.

                                  27           In the process of class-certification analysis, there “may entail some overlap with the

                                  28   merits of the plaintiff’s underlying claim.” Amgen Inc. v. Connecticut Ret. Plans & Trust Funds,
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                                   1   568 U.S. 455, 465–66 (2013) (internal quotation marks omitted). However, “Rule 23 grants courts

                                   2   no license to engage in free-ranging merits inquiries at the certification stage.” Id. at 466. “Merits

                                   3   questions may be considered to the extent—but only to the extent—that they are relevant to

                                   4   determining whether the Rule 23 prerequisites for class certification are satisfied.” Id.

                                   5                                                DISCUSSION

                                   6   I.       MOTIONS TO STRIKE AND EXCLUDE

                                   7               A. WellPet’s Daubert Motion

                                   8            WellPet moves to exclude the opinions of two of Zeiger’s technical experts and of his

                                   9   damages experts.

                                  10                        i. Dr. Pusillo

                                  11            WellPet moves to exclude several opinions of Dr. Gary Pusillo, who opines, among other

                                  12   things, that (1) there is no safe amount of arsenic, lead, or BPA in dog food for consumption by
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                                  13   dogs and (2) WellPet could have but did not prevent inclusion of arsenic, lead, and BPA in its dog

                                  14   food. See WellPet’s Motion to Exclude Certain of Plaintiff’s Expert Testimony (“WellPet Strike

                                  15   Mot.”) [Dkt. No. 163].

                                  16            WellPet first attacks Pusillo’s qualifications to opine on these subjects at all. It argues that

                                  17   Pusillo is an animal nutritionist, but that the above opinions he renders are about toxicology and

                                  18   pet food manufacturing respectively. See WellPet Strike Mot. 3, 10–11. Zeiger agrees that Pusillo

                                  19   is a nutritionist, but argues that he is nonetheless qualified to render his opinions due to his general

                                  20   experience in animal food safety and testing. See Opposition to the WellPet Strike Mot. (“WellPet

                                  21   Strike Oppo.”) [Dkt. No. 174] 5–8. WellPet then challenges the reliability of each opinion.

                                  22            Pusillo’s master’s degree is in “animal production” and his Ph.D. is in “animal nutrition.”

                                  23   Pusillo Rep. at 7. He is currently the president and owner of a company that, by Pusillo’s

                                  24   description, “develop[s] and formulate[s] specialty animal feeds, supplements, and health care

                                  25   products for domestic and exotic animals[;] . . . provides nutritional consulting advice to animal

                                  26   owners, and manufacturers involved in the animal industry[; and] . . . provides investigative

                                  27   forensic and expert witness services for claims and litigated cases involving animal deaths,

                                  28   production abnormalities, and injuries.” Id. He also works and has previously worked at several
                                                                                           9
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                                   1   other companies in nutrition-related roles. See id. He has testified or been deposed in five cases.

                                   2   Id. at 13.

                                   3                           1. Opinion that there is no safe level of arsenic, lead, and BPA

                                   4           WellPet’s first argument is that it is for a toxicologist, not a nutritionist, to opine on what

                                   5   levels of certain chemicals are safe in pet food. WellPet Strike Mot. 3–4. Here, the evidence is

                                   6   that Pusillo has long experience (in addition to a Ph.D.) in animal nutrition, which includes

                                   7   understanding the effects of substances in animal food on those animals’ health. His CV shows

                                   8   that he has published papers analyzing the effects of substances in food on animals. See Pusillo

                                   9   Rep. at 9–12. In his deposition in a previous case that both parties rely on, Pusillo testified that he

                                  10   has, within the scope of his work, analyzed lab testing results, including for heavy metals. See

                                  11   Dkt. No. 174-2 at 114:21–24. While the opinions might or might not be most appropriate for a

                                  12   toxicologist or chemist, Daubert does not require that the expert with the best possible
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                                  13   qualifications testify, it requires that the expert be sufficiently qualified and his or her testimony be

                                  14   reliable. As an experienced animal nutritionist, Pusillo is qualified to opine about the effects of

                                  15   substances that animals ingest on their health.

                                  16           WellPet relies on Lucido v. Nestle Purina Petcare Co., 217 F. Supp. 3d 1098 (N.D. Cal.

                                  17   2016). See WellPet’s Reply in Support of the WellPet Strike Mot. (“WellPet Strike Reply”) [Dkt.

                                  18   No. 179] 2. WellPet argues that, in that case, a veterinarian with a specialty in toxicology offered

                                  19   opinions on the adequacy of a company’s testing procedures but the court excluded them as

                                  20   unreliable because they “were not within ‘his specialized knowledge as a veterinarian.’” Id.

                                  21   (quoting Lucido, 217 F. Supp. at 1107). As an initial matter, Lucido went on to hold that the

                                  22   veterinarian was qualified to testify about the potential health risks of the dog food. 217 F. Supp.

                                  23   3d at 1107. While he may not have been “calling upon his specialized knowledge as a veterinarian

                                  24   to express his opinions about the adequacy of Purina’s testing procedures,” id. (emphasis added),

                                  25   he did have “knowledge about [the toxins at issue],” id. at 1108. (The court then excluded those

                                  26   opinions on reliability grounds.) More to the point, Pusillo is an animal nutritionist, not a

                                  27   veterinarian, and is opining about animal nutrition and its effects on animal health.

                                  28           WellPet next contends that this opinion is not reliable under Daubert. WellPet Strike Mot.
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                                   1   4–10. I separate out the opinion into lead and arsenic on the one hand and BPA on the other.

                                   2          Pusillo bases his opinion that there is no safe level of lead and arsenic in the dog food on

                                   3   the established fact of “bioaccumulation.” Pusillo Rep. at 15–18. Bioaccumulation is essentially

                                   4   the build-up of a substance as it is ingested over time. Id. at 17–18. WellPet does not dispute that,

                                   5   as a general matter, bioaccumulation of substances is recognized to occur. See WellPet Strike

                                   6   Reply 2–3. And both parties’ experts agree that lead and arsenic in certain concentrations are

                                   7   dangerous. See Report of Dr. Robert Poppenga (“Poppenga Rep.”) [Dkt. No. 162-13] at 5

                                   8   (discussing arsenic and lead poisoning).

                                   9          Pusillo cites several published studies to support various aspects of his opinion. He

                                  10   characterizes a 2013 study as finding that “non-absorbed heavy metals have a direct impact on the

                                  11   gut microbiota. In turn, this may impact the alimentary tract and overall gut homeostasis.” Pusillo

                                  12   Rep. at 16 (citing Breton, J., at al. Ecotoxicology inside the gut: impact of heavy metals on the
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                                  13   mouse microbiome, 14 BMC Pharmacology and Toxicology 62 (2013)). Though that study

                                  14   concerned rodents, Pusillo opines that the principle applies to dogs too. Id. Additionally, he cites

                                  15   evidence that “trace amounts” of arsenic ingested by humans can, over extended periods, have

                                  16   deleterious health consequences. Id.

                                  17          WellPet musters a number of counterarguments, but all go to weight, not admissibility.

                                  18   The role of a court at the Daubert stage is reliability gatekeeper, not factfinder. WellPet first

                                  19   attacks the studies Pusillo relies on as being inconclusive. WellPet Strike Reply 2–4. Pusillo has

                                  20   cited no studies in which bioaccumulation of heavy metals was conclusively shown to be a health

                                  21   risk in dogs. And WellPet is right that none of the studies establish all aspects of his opinions,

                                  22   which is why his report is necessary to connect them. The 2013 study, for instance, concerned

                                  23   lead and cadmium, not arsenic. Id. But Pusillo opines that it is a feature of heavy metals that they

                                  24   bioaccumulate, as his other evidence arguably shows. Similarly, WellPet attacks the study as only

                                  25   finding possible impacts on health, as opposed to certain ones; and it cites that paper’s call for

                                  26   further study. WellPet Strike Mot. 4–5. The strength of the evidence of health effects and need

                                  27   for more study go to weight because Pusillo has illustrated how his theory works.

                                  28          WellPet also faults Pusillo for his purported “failure to consider the dose and duration of
                                                                                         11
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                                   1   possible exposure . . . instead reaching the conclusion that there is no safe level without first doing

                                   2   any analysis of dose or duration.” WellPet Strike Mot. 5–6; WellPet Strike Reply 3–4. That

                                   3   misunderstands Pusillo’s opinion. The issue is not that any single dose is harmful, it is that

                                   4   ingesting these substances would not be safe for dogs because they bioaccumulate to unsafe levels.

                                   5           With respect to lead in particular, WellPet contends that Pusillo’s opinion runs afoul of the

                                   6   Supreme Court’s instruction that there cannot be “too great an analytical gap between the data and

                                   7   the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). The leap it identifies

                                   8   is to the conclusion “that any measurable amount of lead in pet food—even less than 1 ppm—is

                                   9   unsafe for dogs.” WellPet Strike Mot. 9. No such leap was made. Pusillo’s opinion is that lead,

                                  10   which is established to be dangerous at sufficiently high concentrations, bioaccumulates.

                                  11   Therefore, even small doses add up to a health hazard over time. WellPet’s arguments are, again,

                                  12   for the jury.
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                                  13           WellPet points to guidance from the FDA and European Union regulatory guidelines that

                                  14   purport to address safe levels of lead and arsenic in pet food. Id. 6–7. As an initial matter, many

                                  15   of the documents that WellPet relies on are in the nature of guidance memoranda, not the

                                  16   agencies’ authoritative positions. One of WellPet’s primary exhibits, for instance, explicitly states

                                  17   it is “draft guidance” that is “for comment purposes only” and is “not for implementation.” Dkt.

                                  18   No. 162-12. Additionally, much of the evidence WellPet relies on shows, at most, that the

                                  19   substances have not been named hazards, not that they have been declared safe at the levels the

                                  20   Wellness Products are alleged to have. See id. at 139–155 (table of hazards WellPet relies on that

                                  21   does not include the substances). In any event, this dispute is here on a Daubert motion. So long

                                  22   as Pusillo’s methodology is sound and his opinions reliable, it does not matter what countervailing

                                  23   evidence there is, even if it is strong. The only way countervailing evidence would negate

                                  24   Pusillo’s opinion is if it showed it was unreliable, not just that it was disputed.

                                  25           WellPet points again to Lucido. There, however, there was no bioaccumulation theory

                                  26   presented and the expert’s opinion was excluded as being unsupported. See Lucido, 217 F. Supp.

                                  27   3d at 1107. Pusillo’s opinion on the safety of lead and arsenic is admissible.

                                  28           I agree with WellPet, however, that Pusillo’s opinion that no amount of BPA is safe is
                                                                                          12
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                                   1   unsupported and has not been shown to be reliable. Pusillo’s theory on BPA is not that it

                                   2   bioaccumulates. Instead, Zeiger identifies two sources for Pusillo’s conclusion that no amount of

                                   3   BPA is safe in dog food: Pusillo’s experience and background and a 2016 study. See WellPet

                                   4   Strike Oppo. 12–13.

                                   5          The 2016 study is not sufficient support for Pusillo’s broad assertion about BPA. In that

                                   6   study, 14 dogs were fed a BPA-laced diet or a control diet over 14 days. See Zoe L. Koestel, et al,

                                   7   Bisphenol A (BPA) in the serum of pet dogs following short-term consumption of canned dog food

                                   8   and potential health consequences of exposure to BPA, 579 Science of The Total Environment

                                   9   1804 (2017). While BPA concentrations were greater for dogs on the BPA diet, “there was no

                                  10   difference in circulating concentrations of BPA between dogs on either of these two diets.” Id. at

                                  11   1808. That study did not reach any causal connections and recognized the changes may have

                                  12   resulted from changes in diet and Pusillo does not suggest that bioaccumulation occurs with
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                                  13   respect to BPA. That does not support the idea that trace amounts of BPA will have deleterious

                                  14   health consequences, especially because of the lack of a bioaccumulation opinion. Indeed, the

                                  15   study explained that “[i]t remains to be determined whether these diet-induced bacterial changes

                                  16   result in significant health consequences.” Id. at 1813. It is far from a conclusion that BPA at any

                                  17   level is a health risk. Given the weak materiality of that study, Pusillo’s nebulous assertions of

                                  18   “experience” are insufficient to show reliability of a theory that appears to have no other scholarly

                                  19   support. Accordingly, this opinion will be excluded.

                                  20                          2. Opinion that WellPet could have prevented inclusion of arsenic, lead,
                                                                 and BPA
                                  21
                                              WellPet also moves to exclude Pusillo’s opinion that it could have prevented inclusion of
                                  22
                                       arsenic and lead. WellPet again attacks Pusillo’s qualifications to opine on this topic at all.
                                  23
                                       WellPet Strike Mot. 10. As discussed, Pusillo has a long history in animal nutrition, including in
                                  24
                                       formulating diets and laboratory testing. He is qualified to offer opinions about WellPet’s food
                                  25
                                       formulation and testing procedures. The core of his opinion on this topic is that WellPet could
                                  26
                                       have identified the substances through testing its ingredients and then excluded those that tested
                                  27
                                       positive. See Pusillo Rep. 21–24. That opinion is in his wheelhouse as someone who analyzes how
                                  28
                                                                                         13
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                                   1   best to provide nutrients in food to animals. WellPet responds that someone would need expertise

                                   2   in animal food manufacturing to render these opinions. WellPet Strike Reply 4. Again, however,

                                   3   Pusillo does not need to be the most specialized possible expert to opine on a subject, he must

                                   4   have expertise from his experience, as he does.

                                   5          However, I find that Pusillo is not qualified to opine about how WellPet could reduce the

                                   6   risk of BPA (as opposed to lead and arsenic). To form that opinion, Pusillo relies on the assertion

                                   7   that BPA contamination can occur with exposure to plastic at high heat that can happen during the

                                   8   storage process of the food. Pusillo Rep. at 24. Pusillo is a nutritionist, not a food safety expert, a

                                   9   chemist, or a toxicologist. Lead and arsenic exist in food and he is qualified to opine about their

                                  10   nutritional effects. But BPA is a synthetic compound that, Zeiger alleges, enters due to how the

                                  11   Wellness Products are moved and stored. It is beyond the ken of a nutritionist to describe the

                                  12   mechanisms for that synthetic chemical infiltrating the products.
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                                  13          WellPet also argues that the opinions are unreliable. It argues that Pusillo does not opine

                                  14   that it is a common practice to perform this testing and quality control in the pet food industry

                                  15   (presumably as opposed to human food) or for the ingredients to which the practice would apply.

                                  16   WellPet Strike Mot. 11. That objection goes to the weight of his opinion and would not alter his

                                  17   central opinion about the possibility avoiding these substances through testing. Additionally,

                                  18   WellPet points to science that it argues is contrary to Pusillo’s conclusion; the materials it relies on

                                  19   have largely been discussed already because they relate to the safety and ubiquity of these

                                  20   substances. Id. 11–12. Again, the existence of contrary evidence is not itself sufficient to exclude

                                  21   an otherwise reliable opinion under Daubert.

                                  22          Relatedly, WellPet argues that because the levels of arsenic and lead are so low, there is no

                                  23   need to exclude them. Id. That is the very merits issue to be determined, not a reason to exclude

                                  24   Pusillo’s opinion that removal is possible.

                                  25          WellPet challenges Pusillo’s discrete opinion that “WellPet products contained arsenic and

                                  26   lead for years.” WellPet Strike Mot. 13. That opinion is not based on any substantive analysis in

                                  27   his report and Zeiger makes no attempt to defend it in his Opposition. It will be excluded.

                                  28          In sum, Pusillo’s opinion on lead and arsenic is admissible (except for his opinion that the
                                                                                         14
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                                   1   products contained lead and arsenic “for years”); his opinion on BPA will be excluded.

                                   2                         ii. Dr. Callan

                                   3           WellPet moves to exclude several opinions of Dr. Sean Callan, another of Zeiger’s experts

                                   4   who analyzed WellPet’s products in a laboratory for traces of BPA. See WellPet Strike Mot. 13–

                                   5   14. To form his opinions, Callan tested 105 of WellPet’s products for BPA and found that 59

                                   6   contain “quantifiable levels of BPA.” Id. Ex. G (“Callan Rep.”) [Dkt. No. 163-8] at 2. Callan

                                   7   offers several opinions about these results that WellPet does not challenge.

                                   8           WellPet objects, though, to Callan’s opinions about WellPet’s quality control procedures

                                   9   and possible sources of BPA in pet food. Id. at 5–6. The portion of the report that contains these

                                  10   opinions reads in its entirety:

                                  11           Upon review of the disclosure on the Wellpet website around their purported transition to
                                               BPA-free packaging, I find no mention of the methodology used to screen for BPA. As
                                  12           such, I am unable to review the suitability of their methodology in this regard. However, it
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                                  13           should be noted that BPA in pet food is not confined to packaging, and may result from
                                               many other components of the supply chain processing, raw ingredient packaging, etc.
                                  14           Furthermore, the variability in the levels of BPA observed in the 105 products tested,
                                               coupled with the proportion of products with quantifiable levels of BPA suggests a
                                  15           systemic quality control issue beyond wet food packaging.
                                  16   Id.

                                  17           WellPet argues that Callan is not qualified to render these opinions and that he fails to

                                  18   employ reliable principles or methods to reach them. I agree that Callan has no expertise that

                                  19   would permit him to opine on this to the jury and that he has not offered any reliable foundation

                                  20   for these opinions.

                                  21           Callan’s master’s degree and Ph.D. are in psychology and his post-doctoral training is in

                                  22   molecular neuroscience and molecular biochemistry. Id. Currently, he is a senior vice president at

                                  23   Ellipse Analytics, a lab that is accredited to test for BPA. Id. at 2, 4. He represents that he

                                  24   “specialize[s] in data analytics, statistics, toxicology and neuropharmacology” and has “taught

                                  25   statistics and research design courses.” Id. at 2–3. He has served for four years in various roles at

                                  26   Ellipse, including in research and as a lab technician. Id. at 13.

                                  27           Zeiger argues that Callan is qualified to render the above opinions about WellPet’s quality

                                  28   control and the other possible sources of BPA aside from packaging because he “is a laboratory
                                                                                         15
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                                   1   technician” and is “qualified to review and attest to the suitability of testing methodologies to

                                   2   properly test and screen for BPA.” WellPet Strike Oppo. 15. While that experience renders him

                                   3   an expert in the laboratory testing he performed and analyzed, that is not the focus of WellPet’s

                                   4   motion. Zeiger has not shown that Callan is qualified to testify about possible sources of BPA in

                                   5   WellPet’s food. He is a psychologist, and any other relevant experience that he has comes from

                                   6   his role analyzing lab results. Expert testimony about potential other sources of BPA comes

                                   7   neither from psychology nor from the results.

                                   8          Zeiger also relies on one talk Callan gave to the Association of Official Analytical

                                   9   Collaboration that it characterizes as being about “ensuring reliability and reproducibility of

                                  10   analytical chemistry analyses of, among other things, pet food.” Id. This single talk—the

                                  11   description of which is quite vague—does not reveal any level of expertise in the areas that would

                                  12   permit Callan to form the opinions above. It simply points back to him being qualified to perform
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                                  13   the analysis of the composition of pet food, but not more.

                                  14          This opinion will also be excluded on reliability grounds because Callan never indicates

                                  15   what it is based on. The methodology in Callan’s report is entirely related to how his laboratory

                                  16   analysis of the products was performed. See Callan Rep. at 3. The results of that lab work are not

                                  17   challenged and appear admissible. Yet the opinion quoted above—which is Callan’s entire

                                  18   opinion on this topic—is couched as an “interpretation” of these results. Id. at 5. He never

                                  19   explains how he knows that “BPA in pet food is not confined to packaging,” how it “may result

                                  20   from many other components of the supply chain,” or how “variability” in the levels of BPA and

                                  21   “proportion” with BPA “suggest[] a systemic quality control issue” aside from packaging. Id. at

                                  22   5–6. Zeiger argues that the opinion “is based on his experience in evaluating and assessing test

                                  23   results,” WellPet Strike Oppo. 15, but it goes beyond analyzing the lab results to analyzing the

                                  24   sources of and mechanisms that lead to BPA contamination. These opinions may be true, but

                                  25   there is no way to test their reliability and Callan is not qualified to opine as an expert on them.

                                  26          The motion to strike Callan’s opinions about quality control and alternate sources of BPA

                                  27   is GRANTED. His other opinions, including the lab results, are not struck. He is also permitted

                                  28   to testify that he was unable to review the suitability of WellPet’s BPA testing methodology, a
                                                                                         16
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                                   1   subject he is properly qualified to opine about. He is not permitted to offer the remaining opinions

                                   2   in the paragraph quoted above.

                                   3                     iii. Damages Experts

                                   4          Finally, WellPet moves to exclude the opinions of Zeiger’s damages experts, Colin Weir

                                   5   and Steven Gaskin. See WellPet Strike Mot. 14. WellPet’s half-page argument on this point is

                                   6   entirely derivative of its argument in opposition to class certification. See id. (“For the reasons set

                                   7   forth in section I.B of WellPet’s opposition to Plaintiff’s motion for class certification…”).

                                   8   Accordingly, I analyze the parties’ briefing on both motions.

                                   9          Zeiger’s economic experts conducted a conjoint analysis. See Declaration of Colin B.

                                  10   Weir (“Weir Rep.”) [Dkt. No. 163-9]; Expert Report of Steven P. Gaskin (“Gaskin Rep.”) [Dkt.

                                  11   No. 163-10]. In that analysis, they surveyed a representative sample that measured respondents’

                                  12   preferences for WellPet Products with and without each Wellness statement and with and without
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                                  13   the omission that heavy metals and BPA were in the products. Gaskin Rep. at 7–13. They then

                                  14   determine the “price premium” that results to consumers. In other words, they determine how

                                  15   much more a consumer is paying for a WellPet product with the presence of the Wellness

                                  16   Statements and/or the absence of the omissions. Similar analyses are often examined in the

                                  17   caselaw. See, e.g., In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prod. Liab. Litig.,

                                  18   No. 3:17-CV-4372-CRB, 2020 WL 6688912, at *7–*8 (N.D. Cal. Nov. 12, 2020); Krommenhock

                                  19   v. Post Foods, LLC, 334 F.R.D. 552, 573–77 (N.D. Cal. 2020); Hadley v. Kellogg Sales Co., 324

                                  20   F. Supp. 3d 1084, 1103–07 (N.D. Cal. 2018).

                                  21          “[A] model purporting to serve as evidence of damages in this class action must measure

                                  22   only those damages attributable to” the plaintiff’s theory of liability. Leyva, 716 F.3d at 514

                                  23   (quoting Comcast, 133 S. Ct. at 1435). And price premiums attributable to alleged

                                  24   misrepresentations have been accepted, as a general matter, as valid measures for damages in these

                                  25   cases. See, e.g., Krommenhock, 334 F.R.D. at 575; Hadley, 324 F. Supp. 3d at 1204 (collecting

                                  26   cases). As a result, a “full refund” (that is, a price premium worth the same or more than the

                                  27   actual price of the product) can only be given if the product is actually worthless to the consumer.

                                  28   See Krommenhock, 334 F.R.D. at 578. In other words, “[a] full refund may be available in a UCL
                                                                                         17
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                                   1   case when the plaintiffs prove the product had no value to them.” In re Tobacco Cases II, 240

                                   2   Cal. App. 4th 779, 795 (2015).

                                   3           Zeiger’s damages model attempts to calculate the price premium associated with each

                                   4   Wellness Statement and with the omissions. That price premium can be expressed as a percentage

                                   5   of total price. Gaskin calculates the following price premiums for the Wellness Statements:

                                   6   “natural” is 3.0 percent, uncompromising nutrition is 1.9 percent, “unrivaled quality standards” is

                                   7   2.6 percent, “with nothing in excess and everything in balance” is 3.0 percent, and “complete

                                   8   health” is 4.3 percent. Gaskin Rep. at 30–31. Gaskin also measures the price premiums of the

                                   9   omission of lead and arsenic and the omission of BPA at 46.2 percent each. Id. at 31. He derives

                                  10   these omission figures from the inclusion of the hypothetical disclosure “may contain measurable

                                  11   amounts of heavy metals such as arsenic or lead” or “Bisphenol A (BPA).” Id.

                                  12           All three Wellness Products always lack both omissions. Just the omissions, therefore, are
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                                  13   calculated at 92.4 percent of the value of the product. Each of the Wellness Products also always

                                  14   contained some combination of Wellness Statements. Based on their percentages, the net result is

                                  15   that two of the three products have price premiums that are more than 100 percent, and the third is

                                  16   a few percentage points away. In other words, Gaskin values two of the three products as

                                  17   worthless (in fact, worse than worthless) and the third as worth close to it.

                                  18           Gaskin has produced a full refund model. Although Zeiger resists this characterization,

                                  19   WellPet Strike Oppo. 18, the end-result of the analysis would be a full refund for two of the three

                                  20   products and very close to it for the third if Zeiger’s theories were accepted at trial.3 The law is

                                  21   clear that a full refund model is only justified when the plaintiffs prove the products have no value.

                                  22   See, e.g., Krommenhock, 334 F.R.D. at 577–78 (“That model has been rejected by numerous

                                  23   courts when proffered in consumer product cases where the product provided some value.”);

                                  24   Chowning, 735 Fed. App’x at 925.

                                  25           Zeiger attempts to justify this model by showing that the Wellness Products had no value

                                  26   because they are allegedly unsafe. WellPet Strike Mot. 19–20. That is unpersuasive for two

                                  27
                                       3
                                  28     It is irrelevant that I have excluded the BPA opinions and, accordingly, that omission appears no
                                       longer at issue. The result of Gaskin’s analysis was still a full refund.
                                                                                         18
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                                   1   reasons. These consumers inarguably did get value from the Wellness Products. Their pets

                                   2   consumed them and received nutrients from them. And even on Zeiger’s theory, there is no

                                   3   evidence that any individual Wellness Product was a health risk. Instead, Zeiger’s argument is

                                   4   that they cumulatively can be a health risk, and so need warnings. As a result, not every bag a

                                   5   consumer ever purchased had zero value due to being dangerous in a way that, for instance, a

                                   6   device that dangerously explodes might.

                                   7          It is conceivable that the problems may have resulted from not revealing a sufficient

                                   8   amount of information about arsenic, lead, and BPA to the survey participants. Perhaps survey

                                   9   participants would give more accurate answers with more information about the substances and

                                  10   about the extent to which other dog foods contain them. Maybe not. But it seems more than

                                  11   possible for an analysis to sufficiently capture the price premium consumers paid due to the

                                  12   Wellness Statements and omissions; there appears to be no barrier to some price being applied that
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                                  13   is sufficiently reliable and tied to the injury. This is a fairly standard case in terms of how one

                                  14   might measure damages. As I explain below, I will deny the motion to certify a 23(b)(3) class

                                  15   with leave to bring a renewed motion with a renewed damages model. Because it is unclear what

                                  16   this model may look like, I do not rule on WellPet’s other arguments about the reliability of the

                                  17   current model.

                                  18          The motion is GRANTED IN PART and DENIED IN PART as described above.

                                  19              B. Zeiger’s Motion to Strike

                                  20          Zeiger moves to strike portions of the Declaration of Gregory G. Kean, WellPet’s Vice

                                  21   President of Innovation and Product Development, that WellPet submitted in support of its

                                  22   Opposition to class certification. See Plaintiff’s Motion to Strike Portions of Declaration of

                                  23   Gregory G. Kean (“Zeiger Strike Mot.”) [Dkt. No. 171]. Zeiger argues that Kean was not

                                  24   disclosed as an expert yet renders expert opinions; he also argues that Kean offers inadmissible

                                  25   legal opinions.

                                  26                       i. Preliminary Issues

                                  27          As an initial matter, WellPet argues that the motion should be rejected because it was not

                                  28   made earlier. On September 29, 2020, the parties brought a discovery dispute to me. Dkt. No.
                                                                                         19
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                                   1   161. Zeiger argued that declarations of three new witnesses served by WellPet after the close of

                                   2   fact discovery were untimely. Id. at 1–3. One of those was Kean. Id. Zeiger requested that the

                                   3   declarations should be struck or he should be permitted to depose those witnesses again. Id. I

                                   4   granted the request to depose the other two witnesses but denied the request to depose Kean,

                                   5   finding that “Kean was adequately disclosed and plaintiffs had the opportunity during his Rule

                                   6   30(b)(6) deposition to cover relevant topics.” Dkt. No. 164.

                                   7           WellPet argues that this issue should have been addressed during that dispute. WellPet’s

                                   8   Opposition to Zeiger Strike Mot. (“Zeiger Strike Oppo.”) [Dkt. No. 171] 1. I disagree. At the

                                   9   time of that dispute, WellPet had not identified Kean as an expert. I made clear that I was denying

                                  10   the request to depose him “as a fact witness.” Dkt. No. 164. Now that class certification briefing

                                  11   has occurred, Zeiger has seen how Kean’s opinions are being used and argues that they are being

                                  12   used as improper expert opinion.
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                                  13           Relatedly, WellPet argues that it would be unfairly prejudiced by striking these opinions

                                  14   now because it is after WellPet has submitted its brief and expert declarations, and after I denied it

                                  15   an extension to file its class certification Opposition in light of the discovery dispute discussed

                                  16   above. Id. 2.4 WellPet is no more prejudiced than any other party facing a motion to strike

                                  17   resolved at the same time as a substantive underlying motion. WellPet itself filed a Daubert

                                  18   motion about four of Zeiger’s experts. If WellPet had disclosed Kean as an expert, he would be

                                  19   subject to such a motion today. Because WellPet did not, it is fair for Zeiger to move to strike and

                                  20   for WellPet to oppose that motion.

                                  21                      ii. Expert Opinions

                                  22           Federal Rule of Civil Procedure 26(a)(2) governs disclosure of expert testimony. It

                                  23   provides that each party “must disclose to the other parties the identity of any witness it may use at

                                  24

                                  25   4
                                         On September 28, 2020, WellPet requested (prior to filing the discovery dispute) an extension
                                  26   for class certification deadlines until after any new depositions were taken pursuant to the
                                       discovery order discussed above. Dkt. No. 157. I denied that motion, explaining that I would
                                  27   “address the joint letter regarding the disputed depositions when it is filed, but defendant has not
                                       explained why the depositions sought from its witnesses (and not yet granted) would cause it
                                  28   cognizable prejudice.” Dkt. No. 159. I then ruled on the discovery dispute the day after it was
                                       filed.
                                                                                           20
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                                   1   trial to present evidence under Federal Rule of Evidence 702, 703, or 705,” the rules governing

                                   2   expert testimony. Fed. R. Civ. P. 26(a)(2)(A). This disclosure must conform to Rule 26(a)(2)(B),

                                   3   which imposes a series of requirements, including “a complete statement of all opinions the

                                   4   witness will express and the basis and reasons for them,” “the facts or data considered by the

                                   5   witness,” and “the witness’s qualifications.” These disclosures ensure that each party is able to

                                   6   adequately assess and challenge the expert’s opinions. Under Rule 26(a)(2)(D), “[a] party must

                                   7   make these disclosures at the times and in the sequence that the court orders. Absent a stipulation

                                   8   or a court order, the disclosures must be made: (i) at least 90 days before the date set for trial or for

                                   9   the case to be ready for trial; or (ii) if the evidence is intended solely to contradict or rebut

                                  10   evidence on the same subject matter identified by another party under Rule 26(a)(2)(B) or (C),

                                  11   within 30 days after the other party’s disclosure.” Rule 37(c)(1) provides an enforcement

                                  12   mechanism: “If a party fails to provide information or identify a witness as required by Rule 26(a)
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                                  13   or (e), the party is not allowed to use that information or witness to supply evidence on a motion,

                                  14   at a hearing, or at a trial, unless the failure was substantially justified or is harmless.”

                                  15           The determination of whether testimony is lay or expert is governed by the Federal Rules

                                  16   of Evidence. The definitions of lay and expert opinions are mutually exclusive. Lay opinions are,

                                  17   among other things, “not based on scientific, technical, or other specialized knowledge within the

                                  18   scope of Rule 702.” Fed. R. Evid. 701(c). Expert opinions must be based on “the expert’s

                                  19   scientific, technical, or other specialized knowledge.” Fed. R. Evid. 702(a).

                                  20           The mere fact that knowledge is particularized does not necessarily make it an improper

                                  21   subject for lay opinion. The notes of the advisory committee to Rule 701 discuss the admissibility

                                  22   of opinions based on “particularized knowledge that the witness has by virtue of his or her

                                  23   position in the business.” Fed. R. Evid. 701 advisory committee’s notes to the 2000 amendment.

                                  24   The typical example is “the owner or officer of a business [being permitted] to testify to the value

                                  25   or projected profits of the business, without the necessity of qualifying the witness as an

                                  26   accountant, appraiser, or similar expert.” Id. Many courts have therefore permitted particularized

                                  27   business knowledge under Rule 701. See In re Google AdWords Litig., No. 5:08-CV-3369 EJD,

                                  28   2012 WL 28068, at *4 (N.D. Cal. Jan. 5, 2012) (surveying cases), rev’d and remanded on other
                                                                                           21
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                                   1   grounds sub nom. Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979 (9th Cir. 2015).

                                   2          Kean was not adequately disclosed as an expert. There was no timely expert disclosure

                                   3   about him that met the standard set out in Rule 26(a)(2)(B) despite WellPet’s disclosures of

                                   4   several other experts. In 2018, Kean was deposed as a Rule 30(b)(6) witness for WellPet. His

                                   5   current duties “involve development of new products, maintaining the nutritional integrity of

                                   6   WellPet’s products, regulatory compliance, quality assurance, technical services, and

                                   7   commercialization.” Kean Decl. ¶ 1.

                                   8          Zeiger objects to two types of testimony from Kean. First, Kean discusses the Association

                                   9   of American Feed Control Officials (“AAFCO”), a voluntary association of animal food and drug

                                  10   regulators. Id. ¶¶ 11–14. Applying the framework discussed above, some of Kean’s statements

                                  11   about AAFCO are proper lay witness testimony and some that could only be properly made by an

                                  12   expert. Kean may describe AAFCO and its role, see Zeiger Strike Mot. 4 (objecting to this),
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                                  13   because that requires no specialized knowledge. Kean Decl. ¶ 11. His testimony on this may, like

                                  14   any others, be attacked on other proper grounds. Kean may also report the AAFCO’s definition of

                                  15   “natural,” id. ¶ 13, and his understanding of how AAFCO guidance is promulgated, id. ¶ 12.

                                  16          Kean may not opine that WellPet’s products “satisfy the AAFCO definition of ‘natural.’”

                                  17   Id. ¶ 14. To reach that conclusion, Kean must opine about how WellPet’s ingredients are

                                  18   “derived” and “mined”; about their chemical composition, including “trace amounts” of heavy

                                  19   metals and chemicals he labels as naturally occurring; and about the prevalence of those

                                  20   substances in the environment. Id. All of that is plainly specialized knowledge that requires

                                  21   expertise. Indeed, these types of issues are the subject of other expert evidence in this case.

                                  22          WellPet responds that these opinions are the result of Kean’s “particularized knowledge”

                                  23   taken from his job responsibilities. That doctrine does not transform expert evidence into lay

                                  24   evidence. The Advisory Committee has explained that “[s]uch opinion testimony is admitted not

                                  25   because of experience, training or specialized knowledge within the realm of an expert, but

                                  26   because of the particularized knowledge that the witness has by virtue of his or her position in the

                                  27   business.” Fed. R. Evid. 701 advisory committee notes to the 2000 amendment. This

                                  28   particularized knowledge rule recognizes that some particularized knowledge is within the ken of
                                                                                         22
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                                   1   laypeople simply from performing their jobs. The rule does not stand for the proposition that

                                   2   merely because knowledge is acquired on the job it is always admissible as lay opinion. Here,

                                   3   although Kean may have acquired this knowledge during the course of his job, the opinions

                                   4   themselves cross the line into “scientific, technical, or other specialized knowledge.” They—but

                                   5   not the other evidence discussed above—will be struck.

                                   6          Second, Zeiger objects to testimony about heavy metals and BPA in five paragraphs of the

                                   7   declaration. Kean is permitted to testify to “factual information about WellPet’s position on the

                                   8   safety of BPA.” Zeiger Strike Oppo. 6. Kean may also, again, report on various AAFCO

                                   9   requirements that he believes WellPet adheres to. See Kean Decl. ¶ 26. So long as he is merely

                                  10   reporting regulatory guidance, he may state that the FDA has not identified heavy metals as a

                                  11   “risk for kibble generally” or “identified BPA as a risk for pet food.” Id. ¶¶ 27, 40. Zeiger may

                                  12   attempt to impeach him about these conclusions but they do not require specialized knowledge
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                                  13   within the meaning of FRE 702.

                                  14          Kean may not, however, opine that “[i]t is not technically possible to eliminate all trace

                                  15   amounts of arsenic and lead from the Products,” id. ¶ 39, or that “eliminating all trace amounts

                                  16   from the Products is not technically possible,” id. ¶ 43. For substantially the reasons set out

                                  17   above, those are expert opinions thinly veiled as a lay witness’s knowledge acquired from

                                  18   business. Whether it is “technically” possible to eliminate certain chemicals from products is a

                                  19   technical and specialized opinion. Indeed, in its co-pending Daubert motion, WellPet argues that

                                  20   the inverse opinion cannot be made by Zeiger’s expert because that expert is a nutritionist and not

                                  21   a toxicologist, and therefore insufficiently specialized. Even if this evidence were acquired during

                                  22   the course of Kean’s job duties, it is still expert knowledge.

                                  23          WellPet also argues that, if I determine any of these opinions are expert in nature, they

                                  24   should not be struck. Zeiger Strike Oppo. 7–8. It first relies on the Ninth Circuit’s decision in

                                  25   Sali v. Corona Regional Medical Center for the principle that “[i]nadmissibility alone is not a

                                  26   proper basis to reject evidence submitted in support of class certification.” 909 F.3d 996, 1004

                                  27   (9th Cir. 2018); Zeiger Strike Oppo. 7. That principle comes from a line of cases holding that

                                  28   class certification motions need not be decided by “the formal strictures of trial.” Id. WellPet’s
                                                                                         23
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                                   1   reliance on this line of cases is misplaced. The issue here is not that evidence will ultimately be

                                   2   admissible at the merits stage, it is that Kean was not disclosed as an expert. That determination

                                   3   happens to turn on an issue governed by the Rules of Evidence, but the ultimate conclusion is that

                                   4   WellPet failed to disclose Kean as an expert and so cannot use him as one going forward.

                                   5           Finally, WellPet argues that there is no prejudice in permitting Kean to testify as an expert

                                   6   because he “was identified as a potential witness in interrogatory responses, documents were

                                   7   produced from his custodial files, and a full-day deposition was conducted.” Zeiger Strike Oppo.

                                   8   7. The prejudice to Zeiger is clear. If Kean had been properly disclosed as an expert, Zeiger

                                   9   would have been given a full Rule 26 disclosure; could have questioned Kean as an expert, rather

                                  10   than as a corporate representative as occurred in reality; could have determined whether its own

                                  11   experts needed to rebut any of Kean’s expert opinions; and could have filed a Daubert motion to

                                  12   do so. Allowing Kean’s improper opinions and denying this motion to strike, in contrast, would
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                                  13   mean that Kean could testify to expert opinions without having gone through any of the hurdles

                                  14   that other experts do.5

                                  15                     iii. Legal Opinions

                                  16           Zeiger moves to strike the opinions in four paragraphs of Kean’s Declaration as “improper

                                  17   legal opinions.” See Zeiger Strike Mot. 6–7.

                                  18           “[A]n expert witness cannot give an opinion as to her legal conclusion, i.e., an opinion on

                                  19   an ultimate issue of law. Similarly, instructing the jury as to the applicable law is the distinct and

                                  20   exclusive province of the court.” Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051,

                                  21   1058 (9th Cir. 2008). Even when this type of testimony is offered as lay opinion, “the district

                                  22   court could exclude it because the testimony [i]s not helpful to a clear understanding of the

                                  23   testimony or a fact in issue.” Id. at 1059 (internal quotation marks omitted). This is because

                                  24

                                  25   5
                                         Nor is it sufficient that Kean “provided his education and experience in his declaration, which
                                  26   was served on Plaintiff at the same time as WellPet’s expert reports . . . [and] included citations to
                                       any materials he consulted for his declaration.” Zeiger Strike Oppo. 8. That is far from the robust
                                  27   expert disclosure—not to mention time and opportunity to prepare and rebut—that the Rules
                                       require. Similarly, that Kean was deposed as a fact witness, id., is of no moment because this new
                                  28   declaration includes expert opinions that could not reasonably have been anticipated from a non-
                                       expert corporate representative.
                                                                                         24
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                                   1   applying law (in that case, the Uniform Commercial Code) to facts is to “instruct the jury

                                   2   regarding how it should decide” the legal question and such testimony is not “helpful” as it must

                                   3   be under FRE 701. Id. at 1059–60. District courts may, accordingly, preclude witnesses from

                                   4   relating legal conclusions, but not the facts underpinning those conclusions (so long as they are

                                   5   otherwise admissible). Id. at 1060.

                                   6            In paragraph 11, Kean opines that “[t]he packaging for the Products complies with the

                                   7   model pet food regulations established by the Association of American Feed Control Officials

                                   8   (“AAFCO”) and endorsed by FDA.” Kean Decl. ¶ 11. In paragraph 19, Kean states that “WellPet

                                   9   is fully compliant with the FDA Food Safety Modernization Act (“FSMA”) across our products.”

                                  10   Id. ¶ 19. These are legal conclusions; that is, they require an application of the standard set out in

                                  11   regulatory guidance or government-endorsed model regulations to particular facts. WellPet

                                  12   characterizes Kean as merely having “read the relevant documents and stated WellPet’s position
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                                  13   that it has complied.” Zeiger Strike Oppo. 6. While Kean may state the facts underlying his view

                                  14   on compliance—so long as they are otherwise admissible—he may not do what he has done here,

                                  15   which is reach legal conclusions. This conclusion is not altered by the fact that Kean’s “job

                                  16   responsibilities” include regulatory compliance. He is not testifying as a regulatory expert but as a

                                  17   lay witness. And it is unhelpful to the jury to hear a lay witness apply legal standards to particular

                                  18   facts.

                                  19            In paragraph 25, Kean states, “[u]nder [the FDA’s] risk-based approach to food safety, pet

                                  20   food manufacturers only need to apply preventive controls if, after conducting a hazard analysis of

                                  21   each type of animal food manufactured, they determine that there are known or reasonably

                                  22   forseeable [sic] biological, chemical, or physical hazards, and those hazards require a preventive

                                  23   control. See 21 C.F.R. §§ 507.33, 507.34.” Id. ¶ 25. This too is a legal opinion. Indeed, it goes

                                  24   beyond the conclusory opinions discussed above because it purports to interpret and boil down the

                                  25   FDA’s regulatory scheme. That is not the province of a lay corporate witness.

                                  26            In paragraph 38, Kean states,

                                  27            WellPet determined from these test results that the fish ingredients do not pose a risk in the
                                                company’s products, and, as a result, further testing of fish-based ingredients, either by
                                  28            suppliers or by WellPet, was not necessary. This is consistent with the regulations FDA
                                                                                         25
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                                               subsequently issued in 2015, which state that only when a substance is determined to be a
                                   1           hazard, and a hazard that requires a preventive control, does the manufacturer need to
                                   2           identify and implement preventive controls for that substance. See 21 C.F.R. §§ 507.33,
                                               507.34.
                                   3
                                       Id. ¶ 38. I agree that the portion of this opinion purporting to show consistency with FDA
                                   4
                                       regulations—and interpreting them—is not admissible for the reasons already discussed. The first
                                   5
                                       sentence, however, is admissible on this ground to the extent it simply relates what WellPet did or
                                   6
                                       determined.
                                   7
                                               The motion is GRANTED IN PART and DENIED IN PART as described above.
                                   8
                                       II.     MOTION FOR SUMMARY JUDGMENT
                                   9
                                               WellPet moves for summary judgment on all of Zeiger’s (individual) claims. See
                                  10
                                       WellPet’s Motion for Judgment on the Individual Claims of Daniel Zeiger (“SJ Mot.”) [Dkt. No.
                                  11
                                       180].
                                  12
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                                                  A. Safety of Arsenic, Lead, and BPA in the Wellness Products
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                                  13
                                                           i. Arsenic and Lead
                                  14
                                               WellPet first contends that Zeiger cannot show that the amounts of arsenic, lead, and BPA
                                  15
                                       in the Wellness Products are a health risk to dogs. I disagree.
                                  16
                                               Zeiger has demonstrated a genuine dispute of material fact about the dangerousness of the
                                  17
                                       amounts of arsenic and lead that can occur in the Wellness Products. As explained above, Pusillo
                                  18
                                       (Zeiger’s expert) opines that lead and arsenic can “bioaccumulate” in dogs. Consequently, even
                                  19
                                       the small amounts alleged to be in the Wellness Products would be unsafe if the Products were
                                  20
                                       consumed over a sufficient time by a dog. At summary judgment, the admissible opinion of an
                                  21
                                       expert on this issue is sufficient to create a genuine dispute of material fact.
                                  22
                                               WellPet’s argument to the contrary primarily rested on its Daubert motion. Aside from
                                  23
                                       that, it first points to Lucido. SJ Mot. 10–11. There, as previously explained, the court excluded
                                  24
                                       the proffered expert’s opinion. Lucido, 217 F. Supp. 3d at 1107–08. Here, in contrast, Pusillo’s
                                  25
                                       opinion survives Daubert. There, too, there was no bioaccumulation theory. Lucido’s conclusion
                                  26
                                       that there was no evidence that small amounts of mycotoxins were harmful made sense: on that
                                  27
                                       record there was no longer any such evidence. Here, because of the bioaccumulation theory, there
                                  28
                                                                                          26
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                                   1   is.

                                   2          Nor is the dispute avoided because lead and arsenic are “naturally occurring” or

                                   3   “ubiquitous” in the environment. SJ Mot. 10–11. Pusillo’s bioaccumulation theory introduces a

                                   4   genuine dispute of material fact about their dangerousness; the debate about ubiquity is beside the

                                   5   point. Merely because a substance is “naturally occurring” or impossible to entirely remove from

                                   6   the food supply as a whole does not necessarily mean that it is safe in any quantity, nor does it

                                   7   necessarily mean there is not a duty to disclose it under California law. As the FDA posts that

                                   8   WellPet cites make clear, arsenic and lead are to be limited to the extent feasible. Moreover, this

                                   9   is not a case about regulatory compliance; as a matter of California consumer protection law, the

                                  10   extent to which the substances are pervasive is only relevant in that the jury will take it into

                                  11   account when determining what a reasonable consumer would believe.

                                  12          Relatedly, WellPet puts forward evidence—such as guidance from the FDA, European
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                                  13   Union regulators, and scientific groups—that Pusillo is wrong and that the relevant amounts of

                                  14   lead and arsenic have not been shown to be harmful for dogs. But this case is at summary

                                  15   judgment. Zeiger has submitted competent, admissible evidence to support his theory; it would be

                                  16   improper for me to weigh that evidence against WellPet’s evidence. Much of WellPet’s argument

                                  17   on this point is not for summary judgment, it is for trial or a Daubert motion. See, e.g., SJ Mot. 12

                                  18   (“Dr. Pusillo’s opinions are contrary to the findings of the expert scientists at the NRC, FDA, and

                                  19   European Commission, yet he makes no effort to address this contrary evidence.”).

                                  20          Although that settles the issue on this motion, I note that WellPet’s evidence is not quite as

                                  21   conclusive as it asserts. Among other things, it presents no definitive evidence showing that the

                                  22   bioaccumulation theory is not physically possible. Additionally, as alluded to, many of the FDA

                                  23   materials that WellPet relies on are either nonbinding guidance, posts online, or are less conclusive

                                  24   than WellPet contends.

                                  25                      ii. BPA

                                  26          WellPet is entitled to summary judgment that the presence of the alleged amounts of BPA

                                  27   in its Wellness Products does not pose a health risk to dogs. SJ Mot. 13–14. As explained earlier,

                                  28   Pusillo’s opinion on BPA is excluded under Daubert. He did not opine that BPA bioaccumulates.
                                                                                         27
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                                   1   WellPet has submitted an expert report (that has not been challenged under Daubert) that opines

                                   2   that there is no risk to dogs of the levels of BPA purported to be present in the Wellness Products.

                                   3   Poppenga Rep. at 17–18. Zeiger’s reply is only that it is a “battle of the experts as WellPet simply

                                   4   disagrees with Dr. Pusillo’s findings.” Plaintiff’s Opposition to WellPet’s SJ Mot. (“SJ Oppo.”)

                                   5   [Dkt. No. 189] 13. Without Pusillo’s findings, Zeiger cannot introduce a genuine dispute of

                                   6   material fact about the safety of BPA at these levels in dog food.

                                   7              B. Whether the Statements and Omissions are Misleading

                                   8          The core of WellPet’s motion for summary judgment is that there is not, as a matter of law,

                                   9   anything misleading about its packaging. SJ Mot. 14–17. Although Zeiger brings both

                                  10   misrepresentation- and warranty-based claims, they all revolve around the same alleged

                                  11   misrepresentations and omissions.

                                  12          Claims under the UCL, FAL, and CLRA are, at this stage, generally governed by the same
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                                  13   reasonable consumer test. Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016); Williams v.

                                  14   Gerber Prod. Co., 552 F.3d 934, 938 (9th Cir. 2008). Under that test, Zeiger will ultimately have

                                  15   to show that “members of the public are likely to be deceived.” Id.; Kasky v. Nike, Inc., 27 Cal.

                                  16   4th 939, 951 (2002), as modified (May 22, 2002). “Whether a practice is deceptive, fraudulent, or

                                  17   unfair is generally a question of fact which requires consideration and weighing of evidence from

                                  18   both sides.” Linear Tech. Corp. v. Applied Materials, Inc., 152 Cal. App. 4th 115, 134–35 (2007)

                                  19   (internal quotation marks omitted). Materiality is for the jury “unless the fact misrepresented is so

                                  20   obviously unimportant that the jury could not reasonably find that a reasonable man would have

                                  21   been influenced by it.” In re Tobacco II Cases, 46 Cal. 4th 298, 327 (2009) (internal quotation

                                  22   marks omitted).

                                  23          Zeiger brings claims based both on the Wellness Statements (allegedly misleading

                                  24   affirmative statements) and based on WellPet’s omission of the inclusion of lead, arsenic, and

                                  25   BPA. WellPet focuses exclusively on the Wellness Statements. Because WellPet does not move

                                  26   for summary judgment on the pure omissions claims, they survive.

                                  27          As an initial matter, WellPet argues that the Wellness Products “do not claim to be free

                                  28   from any heavy metals or BPA.” SJ Mot. 15 (internal quotation marks and alterations omitted).
                                                                                        28
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                                   1   That is true; Wellness Products have no explicit claim that they lack these substances. But that is

                                   2   not Zeiger’s theory nor what a claim like this requires. Zeiger contends that the Wellness

                                   3   Statements are misleading, not that there is an explicit guarantee. Again, those statements are (1)

                                   4   “uncompromising nutrition,” (2) nothing in excess and everything in balance,” (3) “complete

                                   5   health,” (4) “natural,” and (5) “unrivaled quality standards.” WellPet relies on Simpson v.

                                   6   Champion Petfoods USA, Inc., for this point, but the portion it cites concerned whether certain

                                   7   statements on the packaging were partial representations that triggered a failure to disclose which,

                                   8   at least in California, requires that a statement be contrary to the omitted information. Simpson,

                                   9   397 F. Supp. 3d 952, 972–73 (E.D. Ky. 2019); see Hodsdon v. Mars, Inc., 891 F.3d 857, 861 (9th

                                  10   Cir. 2018) (discussing partial representations). Here, the issue is whether the statements are

                                  11   misleading, not explicitly contrary.6

                                  12           Summary judgment on these statements would be improper. How a reasonable consumer
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                                  13   would understand them is a quintessential matter for a jury. Linear Tech., 152 Cal. App. 4th at

                                  14   134–35. A statement like “uncompromising nutrition” might simply be understood to mean that

                                  15   the Wellness Products were highly nutritious compared to other possible dog food formulations.

                                  16   But, viewed in the light most favorable to Zeiger, it might also be reasonably understood to mean

                                  17   that non-nutritious substances will not exist in the dog food—that is, it is “uncompromising.”

                                  18   Similarly, “unrivaled quality standards” might be understood as a marketing platitude, or it might

                                  19   be understood to communicate that steps are taken to ensure quality control in ingredients that

                                  20   could, among other things, include elimination of heavy metals or synthetic chemicals.

                                  21           The argument is even stronger for “natural,” which is likely to have a more concrete

                                  22   meaning to reasonable consumers. I note, however, that the natural representation may not be

                                  23
                                       6
                                  24     Song v. Champion Petfoods USA, Inc., No. 18-CV-3205 (PJS/KMM), 2020 WL 7624861 (D.
                                       Minn. Dec. 22, 2020), was decided since briefing closed here. In that case, the court held that a
                                  25   number of statements on dog food bags (though not statements identical to those here) would not
                                       mislead reasonable consumers. There, however, the court was explicit that “plaintiffs do not
                                  26   allege that Champion’s dog food contains heavy metals in amounts that may harm dogs” and so
                                       held one of the statements could not be misleading on that basis. Id. at *5. The second statement
                                  27   did not concern arsenic, lead, or BPA. Id., at *8–*9. And the third set of statements were held to
                                       be non-actionable puffery, an argument not before me. Id., at *9–*10. Accordingly, the only
                                  28   determination on lead and arsenic failed for the same reason as in Lucido: unlike here, there was
                                       no evidence of a health risk.
                                                                                        29
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                                   1   sustainable on the basis of lead and arsenic alone, because they are alleged (unlike BPA) to be

                                   2   naturally occurring. The parties have had no chance to address this issue in light of my ruling on

                                   3   the admissibility of the BPA opinions today, so it may be dealt with by motion in limine.

                                   4          Additionally, Zeiger has retained an advertising expert whose opinions have not been the

                                   5   subject of a Daubert motion. See Report of Bruce G. Silverman (“Silverman Rep.”) [Dkt. No.

                                   6   151-6]. That expert examined each of the Wellness Statements and determined, based on his

                                   7   expertise in consumer understanding and brand development, that each would be understood by

                                   8   consumers to communicate that the products were healthy and safe. WellPet attacks his opinions

                                   9   but has not moved to exclude them under Daubert, so its attacks go to their weight. SJ Mot. 17–

                                  10   18. And although it seeks to cast the opinions as speculative, their methodology has not been

                                  11   challenged under the Federal Rules of Evidence and they are proffered as the product of extensive

                                  12   experience in advertising. A jury may agree or disagree about what a reasonable consumer would
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                                  13   believe, but the advertising expert’s opinions are relevant and helpful.

                                  14          WellPet has several responses. It contends that the context in which the Wellness

                                  15   Statements appear entitles it to summary judgment. SJ Mot. 15–16. It argues that:

                                  16          The surrounding text on the packaging itself explains what the statements mean. For
                                              example, the phrase “uncompromising nutrition” has appeared next to a block of text on
                                  17          the CORE Ocean packaging explaining that the product is “based on the nutritional
                                  18          philosophy that dogs, given their primal ancestry, thrive on a diet mainly comprised of
                                              meat,” the product is “nutrient-dense,” and “packed with a high concentration of quality
                                  19          animal protein, without fillers or grains, along with a proprietary blend of botanicals and
                                              nutritional supplements.”
                                  20
                                       SJ Mot. 15.
                                  21
                                              WellPet may be correct that a reasonable consumer would understand the surrounding
                                  22
                                       packaging to clarify these statements, but I cannot so hold on summary judgment. A reasonable
                                  23
                                       consumer might also understand the more prominently placed Wellness Statements to be broader,
                                  24
                                       not narrowed by other specific phrases on the packing. Agreeing with WellPet would require me
                                  25
                                       to transform summary judgment into a highly contextual analysis that made assumptions about
                                  26
                                       how consumers experience packaging. At this point, WellPet’s views on how a consumer would
                                  27
                                       understand these phrases are unsupported speculation; it has offered no evidence that any
                                  28
                                                                                        30
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                                   1   consumer would actually understand them this way, in contrast to Zeiger’s expert evidence.

                                   2          This argument of WellPet’s, additionally, is to some extent undermined by its position in

                                   3   class certification that the packaging of its products varies so much that common questions do not

                                   4   predominate. While WellPet argues in class certification that all of its packaging cannot possibly

                                   5   be determined to be misleading as a whole, it argues here that the packaging is sufficiently

                                   6   uniform that I can determine that it is not misleading as a matter of law.

                                   7          WellPet also falls back to its argument that arsenic, lead, and BPA are ubiquitous and

                                   8   cannot be removed entirely from the food supply. First, that does not mean that they cannot be

                                   9   removed from this particular dog food, as Zeiger’s expert opines. Second, it would be improper to

                                  10   determine at summary judgment whether a reasonable consumer would be misled by the Wellness

                                  11   Statements despite the alleged prevalence of these substances.

                                  12          WellPet contends that not granting summary judgment would open the floodgates to
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                                  13   require labelling of virtually all pet food and much of the human food supply. It cites Lucido and

                                  14   several other cases for the proposition such as, “every manufacturer would be required to disclose

                                  15   that their products contain heavy metals or be barred from making any assertion of quality about

                                  16   the products.” Loeb v. Champion Petfoods USA Inc., 359 F. Supp. 3d 597, 605 n.7 (E.D. Wis.

                                  17   2019); see also Weaver v. Champion Petfoods USA Inc., 2020 WL 3847248, at *3 (E.D. Wis. July

                                  18   8, 2020). But WellPet does not have evidence fit for summary judgment that this broad claim is

                                  19   categorically true. A substance’s existence in the food supply as a whole is quite different from it

                                  20   being in all food. The removability of these substance is currently a matter of expert debate, as

                                  21   discussed above. Moreover, this case concerns viable health and safety claims, not just nutritional

                                  22   ones as in Lucido. Further, WellPet’s parade of horribles seems exaggerated. If a jury found

                                  23   WellPet liable, that could presumably be remedied by a simple disclosure about lead and arsenic.

                                  24   Most fundamentally, there is no authority from California courts or the Ninth Circuit holding that

                                  25   there is an exception to the UCL, FAL, and CLRA just because the resulting disclosure would be

                                  26   widespread or that the potentially dangerous substance is pervasive.

                                  27          The parties also engage in a subsidiary dispute over whether WellPet previously concluded

                                  28   that arsenic, lead, or BPA were a health risk. That debate is immaterial for present purposes
                                                                                        31
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                                   1   because no summary judgment determination turns on it.

                                   2              C. Reliance

                                   3          WellPet argues that there is no evidence that Zeiger relied on the Wellness Statements or

                                   4   omissions. SJ Mot. 19–20. Zeiger does not dispute that he must show reliance on the

                                   5   misrepresentations. See Sandoval v. PharmaCare US, Inc., 730 F. App’x 417 (9th Cir. 2018)

                                   6   (requiring actual reliance for UCL, CLRA, FAL, and warranty claims). But see Bradach v.

                                   7   Pharmavite, LLC, 735 F. App’x 251, 254 (9th Cir. 2018) (“Under California law, class members

                                   8   in CLRA and UCL actions are not required to prove their individual reliance on the allegedly

                                   9   misleading statements. Instead, the standard in actions under both the CLRA and UCL is whether

                                  10   members of the public are likely to be deceived.”). He presented enough evidence to create at

                                  11   least a genuine dispute of material fact.

                                  12          First, to adequately show reliance in a pure omission case, Zeiger need not point to any
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                                  13   particular past statement on which he relied. “To prove reliance on an omission, a plaintiff must

                                  14   show that the defendant’s nondisclosure was an immediate cause of the plaintiff’s injury-

                                  15   producing conduct. A plaintiff need not prove that the omission was the only cause or even the

                                  16   predominant cause, only that it was a substantial factor in his decision. A plaintiff may do so by

                                  17   simply proving that, had the omitted information been disclosed, one would have been aware of it

                                  18   and behaved differently.” Daniel v. Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015).

                                  19          Zeiger has done so. The mechanism for disclosure is WellPet’s packaging, which Zeiger

                                  20   would have seen when buying products. The presence of lead and arsenic are, on Zeiger’s theory,

                                  21   material because of the safety threat they pose. WellPet counters that Zeiger made a series of

                                  22   statements in his deposition to the effect that lead and arsenic are naturally occurring and that trace

                                  23   amounts will exist in all substances, including pet food. SJ Mot. 20 (collecting examples). It is

                                  24   not clear that Zeiger was testifying to what he knew at the time of the purchases, as opposed to

                                  25   what he learned during the course of this suit. Because this case is on summary judgment, I must

                                  26   draw the reasonable inference in Zeiger’s favor that he was unaware (as most consumers

                                  27   presumably are) of these issues at the time. It will be up to a jury to determine whether Zeiger was

                                  28   aware of information that would have meant that he did not rely on the omissions.
                                                                                         32
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                                   1           Turning to the Wellness Statements, Zeiger testified that the “natural” mattered to him

                                   2   when buying it. See, e.g., Dkt. No. 172-8 at 38:10–14 (“Q. Were those both reasons for why you

                                   3   started buying WellPet product, that they had a nice package and the word “Wellness®”? A. And

                                   4   it looked like wholesome, you know, natural ingredients on it.”); 52:11–23 (“Q. What -- what

                                   5   leads you to conclude that -- that it seemed like a superior product when you first bought it? A.

                                   6   All their claims on -- you know, on the packaging and from the people that this is all natural, from

                                   7   the earth, you know, better quality than you can get from regular dog food.”); 51:14–23 (“And it --

                                   8   it touted everything. It’s -- on the bag it says only the finest ingredients. You know, it’s all

                                   9   natural, highest quality.”).

                                  10           WellPet says that Zeiger testified that he does not believe products that claim to be natural.

                                  11   WellPet’s Reply in Support of SJ Mot. (“SJ Reply”) [Dkt. No. 193] 9. But the portion of his

                                  12   deposition it relies on is ambiguous. Zeiger was asked, “Have you ever sought out the definition
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                                  13   of natural, as used by industry or regulators?” He answered, “No. I think it’s gotten clouded in

                                  14   the past years from what it probably was back in the ‘70s. So I don’t know -- yeah, I don’t put my

                                  15   faith when something says it’s natural. I look -- try to look a little further, but there’s only so far

                                  16   you can look.” Dkt. No. 162-16 at 35:11–21. “[T]ry[ing] to look a little further” than the face

                                  17   value of a claim because of a belief that such claims may be overhyped is distinct from not relying

                                  18   on that claim at all. Given Zeiger’s representations that he did see and rely on the natural claim

                                  19   and imagery, summary judgment cannot be granted on this point.

                                  20           The evidence of reliance on the other Wellness Statements is more mixed. I conclude that

                                  21   Zeiger has adequately shown genuine disputes of material fact about his reliance on them. As

                                  22   noted above, he testified that what mattered to him about WellPet revolved around it being high-

                                  23   quality, nutritious, and healthy. Those understandings would likely come from, among other

                                  24   things, the Wellness Statements, which are all to that effect. WellPet’s position is apparently that

                                  25   Zeiger is required to remember each particular misleading statement and have individually relied

                                  26   on it. But the question is whether a reasonable consumer would be misled and whether that

                                  27   misleading impression was a substantial factor in the choice to purchase. Because these

                                  28   statements were all geared toward the same message and would potentially be (as explained
                                                                                          33
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                                   1   above) material to reasonable consumers, Zeiger had, at most, to show genuine disputes of

                                   2   material fact about exposure and materiality, which he has.

                                   3              D. Damages and Restitution

                                   4           WellPet next argues that Zeiger cannot prove damages or establish that he is entitled to

                                   5   restitution under California law. SJ Mot. 21–23. WellPet makes two related arguments. First, it

                                   6   contends that because the Weir/Gaskin damages model is inadmissible, damages cannot be

                                   7   measured. Second, it argues that Zeiger cannot adequately show damages because he cannot

                                   8   remember what WellPet products he purchased or when and because he also purchased those

                                   9   products for his business, which is excluded from his claims.

                                  10           Because the damages model is inadmissible, I agree that Zeiger cannot show what level of

                                  11   damages or restitution he is entitled to.

                                  12           Apparently as a fallback position, Zeiger argues that he can show what he is owed
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                                  13   regardless of the admissibility of the Weir/Gaskin analysis. SJ Oppo. 22–23. He relies on (1) his

                                  14   testimony that he could have bought other food for “half” the price of WellPet and (2) WellPet’s

                                  15   own documents illustrating the price premium over lower quality dog foods. Neither of these,

                                  16   however, is a measure of what Zeiger would have paid for the products absent the alleged

                                  17   misrepresentations or omissions, which is the standard. Hadley, 324 F. Supp. 3d at 1103. That

                                  18   Zeiger could have bought some other dog food for half the price does not mean that dog food is

                                  19   comparable. (That dog food may also have included arsenic, lead, or BPA in comparable levels,

                                  20   meaning he would not have bought it either had it contained appropriate disclosures.) The

                                  21   WellPet documents that Zeiger relies on do not show the price premiums associated with the

                                  22   alleged misrepresentations and omissions, they merely show the price (in foreign, not U.S.,

                                  23   markets) of high-quality, natural dog food over the lower quality alternatives.7

                                  24

                                  25

                                  26   7
                                         I am granting leave for class certification to be renewed on the issue of damages. If a new
                                       damages model is accepted, Zeiger has leave to file a motion for reconsideration on this part of the
                                  27   order. See Civ. L.R. 7-9(a). The motion and opposition shall be limited to 10 pages; the reply
                                  28   limited to 6.

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                                   1                E. Equitable Relief

                                   2             WellPet asserts that Zeiger has an adequate remedy at law and so cannot seek equitable

                                   3   relief, including an injunction. SJ Mot. 23. It also argues he lacks standing to pursue an

                                   4   injunction. Id. 24.

                                   5                         i. Adequate Remedy at Law

                                   6             In Sonner v. Premier Nutrition Corporation, the Ninth Circuit held that “federal courts

                                   7   must apply equitable principles derived from federal common law to claims for equitable

                                   8   restitution under” the UCL and CLRA. 971 F.3d 834, 837 (9th Cir. 2020). That holding, the

                                   9   Ninth Circuit explained, flowed from the general principle that “a federal court must apply

                                  10   traditional equitable principles before awarding restitution,” an equitable remedy. Id. at 841. One

                                  11   well-established equitable principle is that equitable remedies will not be awarded when there is an

                                  12   “adequate remedy at law.” Id. at 842.
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                                  13             Sonner concerned equitable restitution. WellPet argues that Sonner applies equally well to

                                  14   injunctive relief because it too is equitable and that Zeiger has not shown that he lacks adequate

                                  15   remedies at law. Zeiger responds that Sonner does not apply to injunctive relief and that, in any

                                  16   event, Zeiger has shown a lack of adequate legal remedies. One court in this District and several

                                  17   courts in California have held that it applies to injunctive relief. See In re MacBook Keyboard

                                  18   Litig., No. 5:18-CV-02813-EJD, 2020 WL 6047253, at *3 (N.D. Cal. Oct. 13, 2020) (collecting

                                  19   cases).

                                  20             Assuming that Sonner applies to injunctive relief, Zeiger has shown that monetary

                                  21   damages for past harm are an inadequate remedy for the future harm that an injunction under

                                  22   California consumer protection law is aimed at. Zeiger’s remedy at law, damages, is retrospective.

                                  23   An injunction is prospective. Damages would compensate Zeiger for his past purchases. An

                                  24   injunction would ensure that he (and other consumers) can rely on WellPet’s representations in the

                                  25   future. See, e.g., McGill v. Citibank, N.A., 2 Cal. 5th 945, 955 (2017) (explaining that UCL,

                                  26   CLRA, and FAL injunctive relief is designed to prevent “future harm”). Accordingly,

                                  27   retrospective damages are not an adequate remedy for that prospective harm.

                                  28             Sonner’s holding was based on application of traditional federal equitable principles. See,
                                                                                          35
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                                   1   e.g., Sonner, 971 F.3d at 841. The core equitable rule is that simply having any remedy at law is

                                   2   not sufficient to foreclose equitable relief; instead, the remedy must be adequate. The Supreme

                                   3   Court has often affirmed that retrospective money damages play a markedly different role than

                                   4   prospective injunctive relief. See, e.g., Milliken v. Bradley, 433 U.S. 267, 288–90 (1977)

                                   5   (explaining that retrospective damages are generally not permitted under Ex Parte Young but

                                   6   prospective remedies, including injunctions, generally are).

                                   7          As a result, it makes sense that Sonner may sometimes bar equitable restitution when

                                   8   damages are available because, as in Sonner itself, equitable restitution may seek to compensate a

                                   9   plaintiff for the same past harm as monetary damages. Sonner, 971 F.3d at 841. Similarly, it has

                                  10   long been true that the availability of monetary damages forecloses injunctive relief of certain

                                  11   types. The classic example is that specific performance (via injunction) of a contract will not be

                                  12   ordered unless damages are insufficient. See Restatement (Second) of Contracts § 359(1). But, at
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                                  13   least on the facts of a case like this, California’s consumer protection laws permit courts to issue

                                  14   injunctions that serve different purposes and remedy different harms than retrospective monetary

                                  15   damages.

                                  16                      ii. Standing for Injunctive Relief

                                  17          I also disagree with WellPet that Zeiger lacks standing to pursue an injunction. In

                                  18   Davidson v. Kimberly-Clark Corporation, the Ninth Circuit settled a divide among the district

                                  19   courts of this Circuit “in favor of plaintiffs seeking injunctive relief.” 889 F.3d 956, 969 (9th Cir.

                                  20   2018). It held that “a previously deceived consumer may have standing to seek an injunction

                                  21   against false advertising or labeling, even though the consumer now knows or suspects that the

                                  22   advertising was false at the time of the original purchase.” Id.

                                  23          The court discussed two situations that would be sufficient to confer standing. “In some

                                  24   cases, the threat of future harm may be the consumer’s plausible allegations that she will be unable

                                  25   to rely on the product’s advertising or labeling in the future, and so will not purchase the product

                                  26   although she would like to.” Id. at 969–70. “In other cases, the threat of future harm may be the

                                  27   consumer’s plausible allegations that she might purchase the product in the future, despite the fact

                                  28   it was once marred by false advertising or labeling, as she may reasonably, but incorrectly, assume
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                                   1   the product was improved.” Id. at 970.

                                   2          Davidson is satisfied here. In response to questioning from WellPet’s counsel, Zeiger

                                   3   testified that he would be “open to” purchasing the Wellness Products again if his issues with it

                                   4   were remedied. See Dkt. No. 162-16 at 15:2–13. That statement is more than a convenient

                                   5   litigating position: Zeiger purchased the WellPet products regularly for years prior to learning

                                   6   about the presence of the substances, demonstrating his credible interest in them. Cf. Lilly v.

                                   7   Jamba Juice Co., No. 13-CV-02998-JST, 2015 WL 1248027, at *4 (N.D. Cal. Mar. 18, 2015)

                                   8   (“[B]ecause this consumer has already voted with her wallet, we know that she is the most likely

                                   9   to be injured in the absence of an injunction, not the least.”). Unlike some products that are

                                  10   bought rarely, Zeiger’s plausible allegation that he is open to purchasing the Wellness Products in

                                  11   the future makes particular sense as dog food is typically purchased on a relatively regular

                                  12   schedule. Moreover, Zeiger cannot know whether WellPet has begun to remove lead or arsenic
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                                  13   absent an injunction requiring warnings if it did not and so plausibly argues that he cannot trust its

                                  14   packaging absent an injunction. See Davidson, 889 F.3d at 969–70; see, e.g., Lilly, 2015 WL

                                  15   1248027, at *5.

                                  16          WellPet replies that “open to” purchasing it is not sufficient. See SJ Mot. 24. But “open

                                  17   to” a purchase—that one regularly purchased before, no less—is at least as firm as Davidson’s

                                  18   formulation of a representation that someone “might” purchase the product.

                                  19          WellPet also cites cases in which injunctive relief standing was denied, but none are like

                                  20   the facts here. In Rahman v. Mott’s LLP, standing was not denied due to issues with the

                                  21   credibility of a desire to purchase the product again, it was based on that court’s specific finding

                                  22   that the consumer would not be misled by the meaning of a single discrete label because she

                                  23   learned its meaning during litigation. No. 13-CV-03482-SI, 2018 WL 4585024, at *3 (N.D. Cal.

                                  24   Sept. 25, 2018). Whether or not that comports with Davidson (which had just been decided), it is

                                  25   not like the situation here: among other distinctions, Zeiger alleges pure omissions, so there is no

                                  26   “meaning” that could be learned to remedy WellPet’s alleged failure to disclose. Lanovaz v.

                                  27   Twinings North American, Inc., denied standing because the plaintiff testified she would not

                                  28   purchase the products “even if the company removed the allegedly misleading labels” and because
                                                                                         37
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                                   1   her only statement to the contrary was that she would vaguely “consider” buying them. 726 F.

                                   2   App’x 590, 591 (9th Cir. 2018). And in Sciacca v. Apple, Inc., the court found the plaintiff only

                                   3   testified he would “potentially” repair the watch at issue. 362 F. Supp. 3d 787, 803 (N.D. Cal.

                                   4   2019). That is a distinct situation from the facts here and Davidson, where a consumer has an

                                   5   established history of regular purchases and has stated he would be open to purchasing again in

                                   6   the future.

                                   7           Nor does it change the analysis that Zeiger has testified that he would not purchase the

                                   8   products if the labels changed but they still contained the substances. See Dkt. No. 162 at 15:16–

                                   9   16–21. Counsel’s questions and Zeiger’s testimony are somewhat muddled; it is not clear from

                                  10   the transcript under exactly what conditions he believed he was saying he would not purchase the

                                  11   product. As noted, he stated he was “open to” purchasing it if he could believe the alleged

                                  12   representations and trust that the omitted information was not material. And Davidson teaches
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                                  13   that “threat of future harm may be the consumer’s plausible allegations that she will be unable to

                                  14   rely on the product’s advertising or labeling in the future, and so will not purchase the product

                                  15   although she would like to.” 889 F.3d at 969–70.

                                  16                 F. Negligent Misrepresentation

                                  17           Finally, WellPet argues that Zeiger’s negligent misrepresentation claim is barred by the

                                  18   economic loss rule. As a general matter, that rule “requires a purchaser to recover in contract for

                                  19   purely economic loss due to disappointed expectations, unless he can demonstrate harm above and

                                  20   beyond a broken contractual promise.” Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979,

                                  21   988 (2004). In his Opposition, Zeiger does not address this argument. The negligent

                                  22   misrepresentation claim cannot form the basis of a claim premised on purely economic loss.

                                  23   Zeiger has not alleged any property injury or personal injury from the alleged negligent

                                  24   misrepresentations. Nor does a negligent misrepresentation claim fall within the category of

                                  25   intentional misrepresentation claims that the California Supreme Court has held are not barred by

                                  26   the rule. See id. at 991 (singling out intent as defining feature of the exception). WellPet’s motion

                                  27   is granted on this claim.

                                  28
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                                   1              G. Conclusion

                                   2          The motion for summary judgment is GRANTED IN PART and DENIED IN PART. It is

                                   3   granted (1) to the extent that Zeiger claims that the amount of BPA in the Wellness Products is a

                                   4   safety risk, (2) with regard to damages, and (3) on the negligent misrepresentation claim. It is

                                   5   otherwise denied.

                                   6   III.   MOTION FOR CLASS CERTIFICATION

                                   7          Zeiger moves for certification on all of his claims. Zeiger proposes that three classes be

                                   8   certified, one for each of the Wellness Products. His proposed definitions are as follows:

                                   9          Wellness Class: All persons in California who, from July 1, 2013, to the present, purchased
                                              Wellness Complete Health Adult Dry Whitefish and Sweet Potato dog food for household
                                  10          or business use, and not for resale.
                                  11          Wellness Grain-Free Class: All persons in California who, from July 1, 2013, to the
                                              present, purchased Wellness Complete Health Adult Grain Free Whitefish and Menhaden
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                                              Fish Meal dog food for household or business use, and not for resale.
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                                  13
                                              Core Class: All persons in California who, from July 1, 2013, to the present, purchased
                                  14          Wellness CORE Adult Dry Ocean Whitefish, Herring Meal and Salmon Meal dog food for
                                              household or business use, and not for resale.
                                  15
                                       Cert. Mot. 10–11. These classes would exclude “persons or entities who purchased the Wellness
                                  16
                                       Food for business use or resale; government entities; WellPet and its affiliates, subsidiaries,
                                  17
                                       employees, current and former officers, directors, agents, and representatives; and members of this
                                  18
                                       Court and its staff.” Id. 11. Zeiger moves primarily for certification under FRCP 23(b)(3) but
                                  19
                                       also proposes an injunctive relief class under FRCP 23(b)(2) and an alternative liability-only class
                                  20
                                       under FRCP 23(c)(4).
                                  21
                                              WellPet’s primary objections to the 23(b)(3) class is that Zeiger has failed to show that
                                  22
                                       common issues predominate because (1) he cannot demonstrate misrepresentation or causation on
                                  23
                                       a class-wide basis and (2) damages cannot be measured on a class-wide basis. WellPet also argues
                                  24
                                       that Zeiger does not satisfy the typicality requirement, lacks standing to pursue some claims, and
                                  25
                                       has not shown that his alternative injunctive relief or liability classes should be certified.
                                  26
                                                  A. Standing
                                  27
                                              In a class action, standing is satisfied if at least one named plaintiff meets the
                                  28
                                                                                          39
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                                   1   requirements.” Bates v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007). “[T]he core

                                   2   component of standing is an essential and unchanging part of the case-or-controversy requirement

                                   3   of Article III.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). The plaintiff bears the

                                   4   burden of pleading and showing standing. To do so, he must demonstrate three elements: (1) an

                                   5   “injury in fact,” (2) a “causal connection between the injury and the conduct complained of,” and

                                   6   (3) that it is “likely . . . that the injury will be redressed by a favorable decision.” Id. (internal

                                   7   quotation marks and citations omitted). An injury in fact must be “concrete and particularized”

                                   8   and “actual or imminent,” as opposed to “conjectural or hypothetical.” Id. To show a causal

                                   9   connection, the injury must only be “fairly traceable” to the challenged conduct. Id.

                                  10            WellPet challenges Zeiger’s standing to bring claims on behalf of the proposed class to the

                                  11   extent he alleges that the “natural” representation was false or misleading. WellPet’s Opposition

                                  12   to Cert. Mot. (“Cert. Oppo.”) [Dkt. No. 162] 27. Its argument is identical to the argument
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                                  13   discussed above in its motion for summary judgment. See Cert. Oppo. 27. For the reasons

                                  14   explained above, Zeiger plausibly relied on the “natural” representation and therefore was

                                  15   cognizably injured as a result of that alleged misrepresentation.

                                  16               B. Rule 23(a)

                                  17                        i. Numerosity

                                  18            FRCP 23(a) requires that “the class is so numerous that joinder of all members is

                                  19   impracticable.” Fed. R. Civ. P. (a)(1). “[C]ourts canvassing the precedent have concluded that the

                                  20   numerosity requirement is usually satisfied where the class comprises 40 or more members, and

                                  21   generally not satisfied when the class comprises 21 or fewer members.” Twegbe v. Pharmaca

                                  22   Integrative Pharmacy, Inc., No. CV 12-5080 CRB, 2013 WL 3802807, at *2 (N.D. Cal. July 17,

                                  23   2013).

                                  24            Zeiger has met the numerosity requirement and WellPet has no argument to the contrary.

                                  25   Zeiger’s data shows that WellPet’s total sales in California from the Wellness Products were

                                  26   approximately $13.7 million. Dkt. No. 151-12 at 15. Accordingly, based on the prices of the units

                                  27   at issue, it is certain that numerous people—far more than 40—would be included in the class.

                                  28
                                                                                           40
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                                   1                      ii. Commonality

                                   2          FRCP 23(a) requires that “there are questions of law or fact common to the class.” Fed.

                                   3   R. Civ. P. (a)(2). In reality, “commonality only requires a single significant question of law or

                                   4   fact.” Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 589 (9th Cir. 2012).

                                   5          Zeiger meets the commonality requirement, which WellPet does not contest. At least some

                                   6   of the questions at issue here are common to the class, including whether reasonable consumers

                                   7   would be misled by the actionable Wellness Statements and omissions; the level and danger of

                                   8   arsenic and lead in the Wellness Products; and whether WellPet actively concealed its purported

                                   9   knowledge of the inclusion of arsenic, lead, and BPA. See also Cert. Mot. 12–13 (listing other

                                  10   potentially common questions). Cf. Jones v. ConAgra Foods, Inc., No. C 12-01633 CRB, 2014

                                  11   WL 2702726, at *5–*6 (N.D. Cal. June 13, 2014) (finding commonality on misleading labelling

                                  12   claims that something was “100% natural” and similar statements).
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                                  13                     iii. Typicality and Adequacy

                                  14          The Rule also requires that “the claims or defenses of the representative parties are typical

                                  15   of the claims or defenses of the class” and “the representative parties will fairly and adequately

                                  16   protect the interests of the class.” Fed. R. Civ. P. 23(a)(3)–(4). The “test of typicality is whether

                                  17   other members have the same or similar injury, whether the action is based on conduct which is

                                  18   not unique to the named plaintiffs, and whether other class members have been injured by the

                                  19   same course of conduct.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). A

                                  20   plaintiff’s claims are considered typical if they are “reasonably co-extensive with those of absent

                                  21   class members; they need not be substantially identical.” Castillo v. Bank of Am., NA, 980 F.3d

                                  22   723, 730 (9th Cir. 2020). A plaintiff may not be typical if she is “subject to unique defenses

                                  23   which threaten to become the focus of the litigation.” Hanon, 976 F.2d at 508.

                                  24          WellPet’s only 23(a) challenge is to typicality. It argues that Zeiger’s interests would not

                                  25   be aligned with the class and he is subject to unique defenses: (1) Zeiger did not rely on the

                                  26   Wellness Statements or omissions; (2) he made purported admissions about the ubiquity of

                                  27   arsenic, lead, and BPA; (3) he mistrusts the label “natural”; (4) he lacks memory about what

                                  28   products he bought and when; (5) he concedes that pet food manufacturers and he could rely on
                                                                                         41
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                                   1   regulators’ arsenic, lead, and BPA levels; and (6) he bought dog food for his pet sitting business

                                   2   during the class period. See Cert. Oppo. 24–27.

                                   3          Many of those arguments depend on or repeat Well Pet’s contentions at summary

                                   4   judgment. I have already rejected WellPet’s arguments about (1) reliance, (2) ubiquity, and (3) the

                                   5   “natural” label.

                                   6          It is not clear that Zeiger’s memory is so imprecise that a sufficiently realistic amount of

                                   7   damages cannot be estimated. Proof of every last purchase of a product like this is not required.

                                   8   Instead, Zeiger can present evidence that he purchased the products with relative regularity over a

                                   9   certain period to the satisfaction of a jury. See Comcast, 569 U.S. at 35 (citing Story Parchment

                                  10   Co. v. Paterson Parchment Paper Co., 282 U.S. 555, 563 (1931)); Story Parchment, 282 U.S. at

                                  11   563 (“Where the tort itself is of such a nature as to preclude the ascertainment of the amount of

                                  12   damages with certainty, it would be a perversion of fundamental principles of justice to deny all
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                                  13   relief to the injured person, and thereby relieve the wrongdoer from making any amend for his

                                  14   acts. In such case, while the damages may not be determined by mere speculation or guess, it will

                                  15   be enough if the evidence show the extent of the damages as a matter of just and reasonable

                                  16   inference, although the result be only approximate.”). That he bought some food for his pet sitting

                                  17   business does not matter; he cannot recover for it as the suit is currently structured.

                                  18          WellPet also argues that Zeiger is not an adequate representative because he agreed that the

                                  19   FDA can be trusted to set pet food dangerousness levels. As explained before, the FDA has not

                                  20   set such levels as a matter of regulation. And the question is not whether the FDA’s draft

                                  21   guidance is correct, it is whether reasonable consumers would be misled.

                                  22          Zeiger’s claims are sufficiently typical of the class and he is in adequate representative.

                                  23              C. Rule 23(b)(3)

                                  24          A Federal Rule of Civil Procedure 23(b)(3) class can be certified if “the court finds that the

                                  25   questions of law or fact common to class members predominate over any questions affecting only

                                  26   individual members, and that a class action is superior to other available methods for fairly and

                                  27   efficiently adjudicating the controversy.”

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                                   1                       i. Predominance and Superiority

                                   2          The Rule provides that the following factors are “pertinent” to the predominance and

                                   3   superiority inquiry: “(A) the class members’ interests in individually controlling the prosecution or

                                   4   defense of separate actions; (B) the extent and nature of any litigation concerning the controversy

                                   5   already begun by or against class members; (C) the desirability or undesirability of concentrating

                                   6   the litigation of the claims in the particular forum; and (D) the likely difficulties in managing a

                                   7   class action.” Fed. R. Civ. P. 23(b)(3). “The Rule 23(b)(3) predominance inquiry tests whether

                                   8   proposed classes are sufficiently cohesive to warrant adjudication by representation.” Amchem

                                   9   Prod., Inc. v. Windsor, 521 U.S. 591, 623 (1997).

                                  10          Here, the common questions predominate over any individual ones. The central common

                                  11   questions include (1) whether the statements and omissions would be material to a reasonable

                                  12   consumer; (2) whether arsenic, lead, and BPA are safe and/or nutritious; and (3) whether WellPet
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                                  13   could have removed those substances from its products. WellPet’s defenses—many of which it

                                  14   presented at summary judgment on Zeiger’s individual claims—are likely to be the other side of

                                  15   this coin: It is likely to argue that the amount of arsenic, lead, and BPA in its products is safe; that

                                  16   its Wellness Statements are not misleading; that any omission was not misleading; that it had no

                                  17   duty to disclose the presence of arsenic, lead, and BPA; and that it could not remove all traces

                                  18   from its products. The individual questions have largely to do with which and what amount of

                                  19   product each class member purchased, a typical issue to handle in an individualized way in a class

                                  20   action. See Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013).

                                  21          WellPet’s merits argument is that common issues do not predominate because “deception

                                  22   and causation” cannot be measured on a class-wide basis.

                                  23                          1. Uniform Meaning and Materiality

                                  24          WellPet first argues that,

                                  25          Zeiger has not shown that the proposed class uniformly understands the challenged
                                              statements as (in his view) representing that the Wellness products are completely free of
                                  26          trace amounts of elements that exist everywhere in the environment and are found in nearly
                                  27          all pet food as well as in human food. As a result, Zeiger has not demonstrated that these
                                              alleged “misrepresentations” are material as to all class members.
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                                   1   Cert. Oppo. 14. Relatedly, it asserts that the statements would not have the same meaning to all

                                   2   class members. Id. at 14–15.

                                   3          This objection is foreclosed both by the nature of California consumer protection law and

                                   4   by my summary judgment determinations. The inquiry under California law is based on what a

                                   5   reasonable consumer would believe, not each idiosyncratic individual. See, e.g., Ebner, 828 F.3d

                                   6   at 965; Krommenhock v. Post Foods, LLC, 334 F.R.D. 552, 563–64 (N.D. Cal. 2020). As I held at

                                   7   summary judgement, given the admissible evidence of the dangerousness of accumulation of lead

                                   8   and arsenic, a reasonable consumer could believe the omission of that information was material.

                                   9   That issue is to be resolved at trial. The statements need not have had identical subjective

                                  10   meanings to each consumer because California applies an objective reasonable consumer test.

                                  11                          2. Variance in Packaging

                                  12          WellPet contends that the packaging varied too greatly during the class period for class
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                                  13   treatment. See Cert. Oppo. 11–14. Of course, this would not be a barrier to Zeiger’s pure

                                  14   omission theory, as he correctly argues in reply. Even if the packaging varied considerably, it

                                  15   would be irrelevant if WellPet had an independent duty to disclose the presence of arsenic and

                                  16   lead based on safety concerns.

                                  17          The Wellness Statements require more analysis, because (unlike the omissions) they varied

                                  18   between products and over time. To help remedy the problems that may be caused by this

                                  19   variation, Zeiger moves to certify three classes, one based on each of the products. That approach

                                  20   makes sense because one of WellPet’s objections is that the configuration of Wellness Statements

                                  21   varied by product. But WellPet argues that even separating out the class by product is insufficient

                                  22   because the Wellness Statements on each product varied within the class period.

                                  23          Courts applying California consumer protection law at class certification have often

                                  24   confronted these types of arguments. Depending on the nature and extent of the variation, they

                                  25   have come out on both sides. The law does not demand that the statements be identical for every

                                  26   moment of the class period; courts have typically held that the predominance requirement is met

                                  27   when there were relatively insubstantial variations. See, e.g., Krommenhock, 334 F.R.D. at 563–

                                  28   64 (“The relevant analysis under California law does not consider whether each class member saw
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                                   1   and relied on each of the Challenged Statements and in what combination, but instead whether the

                                   2   Challenged Statements were used consistently through the Class Period, supporting an inference

                                   3   of classwide exposure, and whether the Challenged Statements would be material to a reasonable

                                   4   consumer.”); Combe v. Intermark Commc’ns, Inc., No. CV0909127SJOPJWX, 2010 WL

                                   5   11597517, at *8 (C.D. Cal. Nov. 18, 2010) (discussing “minor variations” that do not change the

                                   6   “center of gravity”).

                                   7          But at some point, the alleged misrepresentations might vary to such a degree to make

                                   8   class-wide determinations impracticable. See, e.g., Reitman v. Champion Petfoods USA, Inc., No.

                                   9   CV181736DOCJPRX, 2019 WL 7169792, at *9 (C.D. Cal. Oct. 30, 2019), aff’d, 830 F. App’x

                                  10   880 (9th Cir. 2020) (“Defendants point to numerous issues requiring individualized attention that

                                  11   would predominate over any common questions. For example, Defendants show the Court that

                                  12   the phrases at issue require context that differs from bag to bag.”); see also Krommenhock, 334
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                                  13   F.R.D. at 566 n.10 (distinguishing Reitman on numerous bases, including the creation of

                                  14   subclasses). A presumption of reliance does not arise when class members “were exposed to quite

                                  15   disparate information from various representatives of the defendant.” Mazza v. Am. Honda Motor

                                  16   Co., 666 F.3d 581, 596 (9th Cir. 2012) (emphasis added). In Mazza, for instance, the claims were

                                  17   predicated on an advertising campaign that was a “limited campaign” of brochures and

                                  18   commercials, which the court held insufficient to imply class-wide reliance. Id.

                                  19          WellPet makes three types of arguments on this front. The first is that the placement, size,

                                  20   and appearance of the Wellness Statements changes, the second is that the context given for the

                                  21   Wellness Statements changes, and the third is that which Wellness Statements are on each product

                                  22   change. Because the classes would be by product, I describe the changes that occurred for each

                                  23   product during the class period.

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                                   1           CORE Ocean Product. “Uncompromising nutrition” and “with nothing in excess and

                                   2   everything in balance” were on the packaging from “mid-to-late” 2013 until spring 2016. Cert.

                                   3   Oppo. 12–13. The size of “uncompromising nutrition” also changed and it moved from the back

                                   4   of the packing around spring 2016. Id. “Unrivaled quality standards” has been on the packaging

                                   5   since spring 2016. Id. “Complete health” does not appear on the product. Id. “Natural” has

                                   6   always appeared. The following versions of the packaging have been on the market during the

                                   7   class period (left to right from earliest to latest):

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                                  21   See Dkt. Nos. 162-4, 162-5, 162-6, 162-7.
                                  22           Sweet Potato Product. “Uncompromising nutrition” has been on the product for the entire
                                  23   period; in spring 2016, it was moved from the back to the front and its font size and surrounding
                                  24   material changed. Cert. Oppo. 13. “Unrivaled quality standards” has been on the packaging since
                                  25   spring 2016. Id. “With nothing in excess and everything in balance” did not appear on the
                                  26   packaging. “Natural” has always appeared. “Complete health” has always been prominently
                                  27   displayed. The following versions of the packaging have been on the market during the class
                                  28   period (left to right from earliest to latest):
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                                  15   See Dkt. Nos. 162-8, 162-9 (reformatted for consistency), 162-10.

                                  16          Menhaden Product. WellPet does not argue there has been any change in the Menhaden

                                  17   product’s packaging, which looked like this during the class period:

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                                  25   See Dkt. No. 162-11.

                                  26          As an initial matter, even if WellPet’s argument were accepted, it would not stand in the

                                  27   way of certifying classes in several specific ways. WellPet identifies no changes in the Menhaden

                                  28   Product, so its arguments on this point are not a barrier to certification of that class. There is also

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                                   1   no dispute that some Wellness Statements have been virtually unchanged on the other two

                                   2   products (such as “complete health” on the Sweet Potato Product), so the classes could be certified

                                   3   as to those statements alone. And, as noted above, classes could be certified on the pure omissions

                                   4   for all three products. I therefore turn to whether the changes in the other Wellness Statements

                                   5   defeat predominance for the CORE Ocean and Sweet Potato Products

                                   6          The changes that WellPet identifies between the Wellness Statements do not mean that

                                   7   individual issues predominate. WellPet’s attempts to present the bags as being in a constantly-

                                   8   changing state of flux do not persuade. As the summaries and images above made clear, two of

                                   9   the three products went through a few relatively minor changes over the course of many years.

                                  10   The most significant of the changes occurred around spring 2016.

                                  11          Setting this aside, WellPet’s predominance argument is fundamentally misplaced. The

                                  12   changes that occurred here are (1) by product and (2) occurred relatively uniformly over time.
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                                  13   Zeiger has moved to certify classes by product. Accordingly, whether common questions

                                  14   predominate depends on whether they predominate for each product. Because these variations

                                  15   happened over time, they happened at the same time for the entire class, give or take the time for

                                  16   each product to be phased out. Put another way, the alleged misrepresentations would be the same

                                  17   for the class at any given time.

                                  18          There might be some level of individual uncertainty that results from the transition time

                                  19   between each packaging version. There will inevitably be some amount of time in which the old

                                  20   packaging is on store shelves after the new version has been rolled out. But this issue can be dealt

                                  21   with as one of individualized damages. A jury can still determine whether each version of the

                                  22   packaging would mislead a reasonable consumer and, assuming an admissible damages model,

                                  23   can calculate its value. The question of which bag a consumer bought would be, as always,

                                  24   individual. See Yokoyama v. Midland Nat. Life Ins. Co., 594 F.3d 1087, 1094 (9th Cir. 2010).

                                  25   Any uncertainty about which of two possible versions on the market an individual purchased does

                                  26   not mean that that individual issue predominates.

                                  27          This makes this case unlike Reitman, the most factually similar case WellPet has pointed to

                                  28   that denied class certification. There, the Ninth Circuit held that the district court did not abuse its
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                                   1   discretion in denying class certification based on the wide variation in the packaging of products

                                   2   that would result in “individualized inquiries requiring bag-to-bag determinations.” Reitman v.

                                   3   Champion Petfoods USA, Inc., 830 F. App’x 880, 881 (9th Cir. 2020). The district court

                                   4   explained that at issue there were 23 different dog food formulas. Reitman v. Champion Petfoods

                                   5   USA, Inc., No. CV181736DOCJPRX, 2019 WL 7169792, at *1 n.1 (C.D. Cal. Oct. 30, 2019).

                                   6   The phrases that were challenged varied across all of these different bags types. Id., at *9. For

                                   7   instance, the phrase “regional” was used to describe ingredients sometimes (which was alleged to

                                   8   be misleading) but other times, “local” was used along with specific source identifiers for

                                   9   ingredients. Id. Another example was that the ingredients identified as “fresh” varied from bag to

                                  10   bag, so consumers would not be looking at the same representations. Id. Consequently, the court

                                  11   found that there was a threat that the misrepresentations were truly individualized because the

                                  12   class members were presented with many varying bags. Mazza is even farther from these facts.
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                                  13   That case concerned a limited advertising campaign that many consumers may have seen different

                                  14   parts of or not seen at all. Here, the statements are on packaging.

                                  15           There is one class for each formula here. While the packaging for each looks different, the

                                  16   changes within each formula type are relatively minor, occurred over time in an essentially

                                  17   uniform way, and can be addressed class-wide. Accordingly, common issues predominate.8

                                  18           Zeiger has also shown that a class action is a superior mode of adjudication. Based on the

                                  19   amount at stake for any individual, it would be impracticable for them to carry out a full consumer

                                  20   protection case, especially given the expertise required in this one. A class action, on the other

                                  21   hand, would permit a jury to determine essentially all of the important questions in the suit on a

                                  22   class-wide basis. WellPet makes no specific arguments to the contrary on this point (though some

                                  23   of its predominance arguments implicate superiority; to that extent, they are rejected).

                                  24                      ii. Damages

                                  25           “In this circuit . . . damage calculations alone cannot defeat certification.” Yokoyama, 594

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                                  27    Moreover, although not necessary to the outcome, the changes in each particular Wellness
                                       Statement are not the primary economic focus of this case. Despite the flaws in Zeiger’s damages
                                  28   model, it at least shows that the value attached to the pure omissions dwarf the value of any
                                       Wellness Statement or combination of them.
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                                   1   F.3d at 1094. This is so because “the amount of damages is invariably an individual question and

                                   2   does not defeat class action treatment.” Id. (internal quotation marks and alteration omitted).

                                   3   “Thus, the presence of individualized damages cannot, by itself, defeat class certification under

                                   4   Rule 23(b)(3).” Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013).

                                   5           However, “plaintiffs must be able to show that their damages stemmed from the

                                   6   defendant’s actions that created the legal liability.” Id.; see generally Comcast Corp. v. Behrend,

                                   7   569 U.S. 27 (2013). Accordingly, a “damages model must measure only those damages

                                   8   attributable to the plaintiff’s theory of liability. If the plaintiff does not offer a plausible damages

                                   9   model that matches her theory of liability, the problem is not just that the Court will have to look

                                  10   into individual situations to determine the appropriate measure of damages; it is that Plaintiffs

                                  11   have not even told the Court what data it should look for.” Hadley, 324 F. Supp. 3d at 1103

                                  12   (internal quotation marks and citations omitted).
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                                  13           For the reasons explained above, Zeiger’s model for assessing damages is not admissible

                                  14   under Daubert. The issue is not that damages will be individualized, it is that Zeiger has not put

                                  15   forward a damages model that can reliably show the price premium for the alleged

                                  16   misrepresentations. It appears possible, however, for Zeiger to put forward a price premium

                                  17   model that reliably values a class member’s harm and this single ground for denying certification

                                  18   is narrow. Accordingly, leave to bring a renewed motion to certify the class with such a model is

                                  19   granted. See Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180 (9th Cir.), opinion amended on

                                  20   denial of reh’g, 273 F.3d 1266 (9th Cir. 2001) (reviewing a renewed motion to certify after a

                                  21   district court denied the first motion on specific grounds). As it stands, however, a 12(b)(3) class

                                  22   cannot be certified because there is not a sufficient showing that damages can be accurately

                                  23   calculated. The motion to certify the class is therefore DENIED WITHOUT PREJUDICE.

                                  24               D. Rule 23(b)(2)

                                  25           Zeiger also moves to certify a class under Federal Rule of Civil Procedure 23(b)(2). Under

                                  26   that rule, a class may be certified if WellPet “has acted or refused to act on grounds that apply

                                  27   generally to the class, so that final injunctive relief or corresponding declaratory relief is

                                  28   appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). A 23(b)(2) action does not
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                                   1   offer damages; instead, “certification under Rule 23(b)(2) is appropriate only where the primary

                                   2   relief sought is declaratory or injunctive.” Zinser, 253 F.3d at 1195.

                                   3          Zeiger has shown that such a 23(b)(2) class should be certified. For the reasons explained

                                   4   above, and incorporated here, there are many common questions at stake that predominate over

                                   5   individual ones. WellPet’s actions are alleged to be equally applicable to the entire class.

                                   6   Injunctions against WellPet, if successful, would prohibit the alleged misrepresentations as to all

                                   7   class members.

                                   8          WellPet has several responses, but most are restatements of arguments that have already

                                   9   been addressed. See Cert. Oppo. 27–28. Its novel argument is that the primary relief here is not

                                  10   injunctive, so a Rule 23(b)(2) class is inappropriate. But a major goal of California’s consumer

                                  11   protection law is prevention of future consumer protection violations through injunctive relief.

                                  12   See, e.g., In re Tobacco II Cases, 46 Cal. 4th at 319 (“[T]he primary form of relief available under
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                                  13   the UCL to protect consumers from unfair business practices is an injunction.”). There is no

                                  14   reason to think that injunctive relief against future harm is less important than monetary relief for

                                  15   past harm. To hold otherwise would bar an injunctive relief class merely because damages are

                                  16   also available. Additionally, damages are not the main focus of the 23(b)(2) class in any case, so

                                  17   the primary focus of that class would be injunctive relief. Indeed, at this point, no damages class

                                  18   will proceed. The motion to certify Rule 12(b)(2) classes with the class definitions above is

                                  19   GRANTED.

                                  20              E. Rule 23(c)(4)

                                  21          Zeiger alternatively moves to certify a liability-only class under Rule 23(c)(4). That rule

                                  22   provides that, “[w]hen appropriate, an action may be brought or maintained as a class action with

                                  23   respect to particular issues.” Fed. R. Civ. P. 23(c)(4). It is intended to allow “isolate[ion of] the

                                  24   common issues . . . and proceed with class treatment of these particular issues.” Valentino v.

                                  25   Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996). Zeiger’s proposal is to jettison damages

                                  26   and decide the remaining common issues on liability.

                                  27          At the hearing on these motions, I indicated that I would grant leave to recertify the class if

                                  28   the damages issue were all that stood in the way. Zeiger’s counsel indicated that they could put
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                                   1   forward an admissible damages model after seeing my ruling. Because Rule 23(c)(4) is the

                                   2   fallback, certification is DENIED WITHOUT PREJUDICE on the understanding that Zeiger will

                                   3   move to certify a class with an appropriate damages model. At that time, Zeiger may also move

                                   4   for a 23(c)(4) class as an alternative if he wishes. If—after reviewing this ruling and consulting

                                   5   with experts—Zeiger concludes that no admissible damages model can be put forward, he may

                                   6   also elect to move again for a Rule 23(c)(4) class if he wishes. If he does so, he should illustrate

                                   7   that there is sufficient added utility to doing so in light of the 23(b)(2) certification.

                                   8   IV.     MOTIONS TO SEAL

                                   9           Courts “start with a strong presumption in favor of access to court records.” Foltz v. State

                                  10   Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). The public possesses a right to

                                  11   inspect public records, including judicial records. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809

                                  12   F.3d 1092, 1096 (9th Cir. 2016). Accordingly, when a party seeks to seal judicial records
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                                  13   connected to motions—such as the one at issue here—that are “more than tangentially related to

                                  14   the underlying cause of action,” it “must demonstrate that there are ‘compelling reasons’ to do so.”

                                  15   Id. at 1096–99. “When ruling on a motion to seal court records, the district court must balance the

                                  16   competing interests of the public and the party seeking to seal judicial records.” In re Midland

                                  17   Nat. Life Ins. Co. Annuity Sales Practices Litig., 686 F.3d 1115, 1119 (9th Cir. 2012). This

                                  18   district’s local rules require that requests to seal be “narrowly tailored to seek sealing only of

                                  19   sealable material.” CIV. L. R. 79-5(b).

                                  20           WellPet seeks to redact and seal information and exhibits. See Dkt. Nos. 160, 188, 192.

                                  21   The motions are GRANTED.9 The information it seeks to seal is narrowly tailored and falls into

                                  22   two sealable categories. First, WellPet seeks to redact the suggested and minimum prices for its

                                  23   products (the prices charged are public) as well as its strategy for determining those prices. See

                                  24   Dkt. Nos. 160-1, 160-3, 192. These redactions are narrow and the information could reasonably

                                  25   place WellPet at a competitive disadvantage if disclosed. See Nixon v. Warner Commc’ns, Inc.,

                                  26   435 U.S. 589, 598 (1978). To the extent that prices matter to the labelling debate discussed, that

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                                        Zeiger’s motion to seal at Dkt. No. 173 is DENIED because WellPet has indicated it no longer
                                       wishes to seal the information at issue. See Dkt. No. 176. Dkt. No. 173 shall be UNSEALED.
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                                   1   information is disclosed in the parties’ briefs; accordingly, this information does not require

                                   2   sealing anything in this Order. Should this information become important at trial, including for

                                   3   purposes of calculating damages, it will be unsealed. Second, WellPet moves to redact individual

                                   4   consumers’ identifying information, which is plainly sealable and narrowly tailed. See Opperman

                                   5   v. Path, Inc., No. 13-CV-00453-JST, 2017 WL 1036652, at *7 (N.D. Cal. Mar. 17, 2017).

                                   6                                             CONCLUSION

                                   7          The motions to exclude and motion for summary judgment are GRANTED IN PART and

                                   8   DENIED IN PART as described. The motion to certify a 23(b)(3) class is DENIED WITHOUT

                                   9   PREJUDICE. The motion to certify a 23(b)(2) class is GRANTED.

                                  10          The parties may stipulate to a schedule for creation of a new expert report, discovery on

                                  11   that report, a renewed motion to certify, and (perhaps) a Daubert motion from WellPet about the

                                  12   proffered damages model. Renewed briefing on class certification should focus exclusively on the
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                                  13   damages model because the issues have otherwise been settled; the page limits for both a motion

                                  14   to certify and a Daubert motion shall be 15 for motions and oppositions and 8 for replies. If the

                                  15   parties cannot agree to a schedule within 21 days, they should submit a joint letter brief of no more

                                  16   than 5 pages total laying out their proposed timelines and I will set one.

                                  17          IT IS SO ORDERED.

                                  18   Dated: February 26, 2021

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                                                                                                     William H. Orrick
                                  21                                                                 United States District Judge
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